Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 1 of 27 PageID: 135




                EXHIBIT C
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 2 of 27 PageID: 136

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  (12) United States Patent                                                 (10) Patent No.:     US 9,669,008 B1
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  (*) Notice:              Subject to any disclaimer, the term of this   EP              2903690      A1      8, 2015
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  U.S. Patent                Jun. 6, 2017            Sheet 1 of 2            US 9,669,008 B1




                                                     FIG. 1
       O Enalapril diketopiperazine, O Enalaprilat
                  O. 6
          3                                                         O
          30.5 du
          e
          S
                  O 4 me
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                  0.3 iono
                       O
              d
                  0.2 onPour
          a                      O
           eO 0.1 c.            unus
          s                       o        9 OO                     O
                         3            35                      4         45            5
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  U.S. Patent              Jun. 6, 2017        Sheet 2 of 2   US 9,669,008 B1




                                            FIG. 2


       O Enalapril diketopiperazine, O Enalaprilat
           4.0 poulon
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 7 of 27 PageID: 141


                                                       US 9,669,008 B1
                                1.                                                                     2
               ENALAPRIL FORMULATIONS                                    (i) enalapril or a pharmaceutically acceptable salt or Solvate
                                                                         thereof; (ii) a sweetener that is sucralose (iii) a buffer
             BACKGROUND OF THE INVENTION                                 comprising citric acid; (iv) a preservative that is sodium
                                                                         benzoate; and (v) water; wherein the pH of the formulation
     Hypertension, or high blood pressure, is a serious health      5    is less than about 3.5; and wherein the formulation is stable
  issue in many countries. According to the National Heart               at about 5+3° C. for at least 12 months.
  Blood and Lung Institute, it is thought that about 1 in 3                 In some embodiments, the enalapril is enalapril maleate.
  adults in the United States alone have hypertension. Left              In some embodiments, the formulation further comprises a
  unchecked, hypertension is considered a Substantial risk               flavoring agent. In some embodiments, the buffer in the
  factor for cardiovascular and other diseases including coro       10   formulation further comprises sodium citrate dihydrate. In
  nary heart disease, myocardial infarction, congestive heart            Some embodiments, the amount of enalapril or a pharma
  failure, stroke and kidney failure. Hypertension is classified         ceutically acceptable salt or solvate thereof is about 0.6 to
  as primary (essential) hypertension or secondary hyperten
  Sion. Primary hypertension has no known cause and may be               about 1.2 mg/ml. In some embodiments, the amount of
  related to a number of environmental, lifestyle and genetic            sucralose is about 0.5 to about 0.9 mg/ml. In some embodi
  factors such as stress, obesity, Smoking, inactivity and          15   ments, the amount of citric acid in the buffer is about 0.8 to
  Sodium intake. Secondary hypertension can be caused by                 about 3.5 mg/ml. In some embodiments, the amount of
  drug or Surgical interventions, or by abnormalities in the             sodium citrate dihydrate in the buffer is about 0.1 to about
  renal, cardiovascular or endocrine system.                             0.80 mg/ml. In some embodiments, the amount of the
     A number of antihypertensive drugs are available for                Sodium benzoate is about 0.2 to about 1.2 mg/ml. In some
  treating hypertension. Various therapeutic classes of antihy           embodiments, the amount of enalapril or a pharmaceutically
  pertensive drugs include alpha-adrenergic blockers, beta               acceptable salt or solvate thereof is about 10 to about 25%
  adrenergic blockers, calcium-channel blockers, hypoten                 (w/w of solids). In some embodiments, the amount of
  sives, mineralcorticoid antagonists, central alpha-agonists,           sucralose is about 8 to about 18% (w/w of solids). In some
  diuretics and rennin-angiotensin-aldosterone inhibitors                embodiments, the amount of citric acid in the buffer is about
  which include angiotensin II receptor antagonists (ARB) and       25   17 to about 47% (w/w of solids). In some embodiments, the
  angiotensin-converting enzyme (ACE) inhibitors. Angio                  amount of sodium citrate dihydrate in the buffer is about 1
  tensin-converting enzyme (ACE) inhibitors inhibit angio                to about 11% (w/w of solids). In some embodiments, the
  tensin-converting enzyme (ACE), a peptydyl dipeptidase                 amount of sodium benzoate is about 12 to about 25% (w/w
  that catalyzes angiotension I to angiotension II, a potent             of solids). In some embodiments, the pH of the formulation
  vasoconstrictor involved in regulating blood pressure.            30   is between about 3 and about 3.5. In some embodiments, the
     Enalapril is a prodrug belonging to the angiotensin
  converting enzyme (ACE) inhibitor of medications. It is                pH of the formulation is about 3.3. In some embodiments,
  rapidly hydrolyzed in the liver to enalaprilat following oral          the citrate concentration in the buffer is about 5 mM to about
  administration. Enalaprilat acts as a potent inhibitor of ACE.         20 mM. In some embodiments, the citrate concentration in
  The structural formulae of enalapril and enalaprilat are as            the buffer is about 10 mM. In some embodiments, the
  follows:                                                          35   formulation is stable at about 5+3° C. for at least 18 months.
                                                                         In some embodiments, the formulation is stable at about
                                                                         5+3° C. for at least 24 months. In some embodiments, the
                                                                         formulation does not contain mannitol. In some embodi

                                .                                   40
                                                                         ments, the formulation does not contain silicon dioxide.
                                                                            In one aspect, the enalapril oral liquid formulation, com
                                                                         prises (i) about 1 mg/ml enalapril maleate; (ii) about 0.70
                                                                         mg/ml of a Sweetener that is sucralose; (iii) a buffer com
                                                                         prising about 1.82 mg/ml citric acid; (iv) about 1 mg/ml of
                                                                         a preservative that is sodium benzoate; and (V) water;
                                                                    45   wherein the pH of the formulation is less than about 3.5; and
                                                                         wherein the formulation is stable at about 5+3° C. for at least
                             Enalapril                                   12 months.
                       HO       O                                           In some embodiments, the formulation further comprises
                                                                         a flavoring agent. In some embodiments, the buffer further
                                              N                     50   comprises about 0.15 mg/mL Sodium citrate dihydrate. In
                                N
                                H
                                                                         some embodiments, the pH of the formulation is between
                                          O           OH
                                                                         about 3 and about 3.5. In some embodiments, the pH of the
                                                  O                      formulation is about 3.3. In some embodiments, the citrate
                                                                         concentration in the buffer is about 5 mM to about 20 mM.
                            Enalaprilat                             55   In some embodiments, the citrate concentration in the buffer
                                                                         is about 10 mM. In some embodiments, the formulation is
     Enalapril is currently administered in the form of oral             stable at about 5+3° C. for at least 18 months. In some
  tablets, (e.g., Vasotec) or in the form of liquid formulations         embodiments, the formulation is stable at about 5+3° C. for
  obtained by reconstitution of enalapril powder formulations.           at least 24 months. In some embodiments, the formulation
  In addition to the treatment of hypertension, enalapril tablets   60   does not contain mannitol. In some embodiments, the for
  have been used for symptomatic congestive heart failure,               mulation does not contain silicon dioxide.
  and asymptomatic left ventricular dysfunction.                            In one aspect, the enalapril oral liquid formulation com
                                                                         prises (i) about 19.3% (w/w of solids) enalapril maleate; (ii)
              SUMMARY OF THE INVENTION                                   about 13.5% (w/w of solids) of a sweetener that is sucralose;
                                                                    65   (iii) a buffer comprising about 35.2% (w/w of solids) citric
    Provided herein are enalapril oral liquid formulations. In           acid; (iv) about 19.3% (w/w of solids) of a preservative that
  one aspect, the enalapril oral liquid formulation, comprises           is sodium benzoate; and (v) water; wherein the pH of the
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 8 of 27 PageID: 142


                                                       US 9,669,008 B1
                                3                                                                      4
  formulation is less than about 3.5; and wherein the formu              contain mannitol. In some embodiments, the formulation
  lation is stable at about 5+3° C. for at least 12 months.              does not contain silicon dioxide.
     In some embodiments, the formulation further comprises                 In Some embodiments, the Subject has blood pressure
  a flavoring agent. In some embodiments, the buffer further             values of about 120-139/80-89 mm Hg.
  comprises about 2.9% (w/w of solids) sodium citrate dihy          5       Also provided herein are methods of treating heart failure
  drate. In some embodiments, the pH of the formulation is               in a Subject comprising administering to that Subject a
  between about 3 and about 3.5. In some embodiments, the                therapeutically effective amount of enalapril oral liquid
  pH of the formulation is about 3.3. In some embodiments,               formulation comprising (i) about 1 mg/ml enalapril maleate;
  the citrate concentration in the buffer is about 5 mM to about
                                                                    10
                                                                         (ii) about 0.70 mg/ml of a sweetener that is sucralose; (iii)
  20 mM. In some embodiments, the citrate concentration in               a buffer comprising about 1.82 mg/ml citric acid and about
  the buffer is about 10 mM. In some embodiments, the                    0.15 mg/ml sodium citrate dihydrate; (iv) about 1 mg/ml of
  formulation is stable at about 5+3° C. for at least 18 months.         a preservative that is sodium benzoate; and (V) water;
  In some embodiments, the formulation is stable at about                wherein the pH of the formulation is less than about 3.5; and
  5+3° C. for at least 24 months. In some embodiments, the          15
                                                                         wherein the formulation is stable at about 5+3° C. for at least
  formulation does not contain mannitol. In some embodi                  12 months. In some embodiments, the formulation does not
  ments, the formulation does not contain silicon dioxide.               contain mannitol. In some embodiments, the formulation
     In one aspect, the enalapril oral liquid formulation con            does not contain silicon dioxide.
  sists essentially of (i) about 1 mg/ml enalapril maleate; (ii)            Also provided herein are methods of treating left ven
  about 0.70 mg/ml of a Sweetener that is sucralose; (iii) a             tricular dysfunction in a Subject comprising administering to
  buffer comprising about 1.82 mg/ml citric acid and about               that subject a therapeutically effective amount of enalapril
  0.15 mg/ml sodium citrate dihydrate; (iv) about 1 mg/ml of             oral liquid formulation comprising (i) about 1 mg/ml enal
  a preservative that is sodium benzoate; (v) a flavoring agent;         april maleate; (ii) about 0.7 mg/ml of a sweetener that is
  and (vi) water; wherein the pH of the formulation is less than         Sucralose; (iii) a buffer comprising about 1.82 mg/ml citric
  about 3.5 adjusted by sodium hydroxide or hydrochloric            25   acid and about 0.15 mg/ml sodium citrate dihydrate; (iv)
  acid; and wherein the formulation is stable at about 5+3° C.           about 1 mg/ml of a preservative that is sodium benzoate; and
  for at least 12 months.                                                (v) water; wherein the pH of the formulation is less than
     Also provided herein are methods of treating hypertension           about 3.5; and wherein the formulation is stable at about
  in a Subject comprising administering to that Subject a                5+3° C. for at least 12 months. In some embodiments, the
  therapeutically effective amount of enalapril oral liquid         30   formulation does not contain mannitol. In some embodi
  formulation comprising (i) about 1 mg/ml enalapril maleate;            ments, the formulation does not contain silicon dioxide.
  (ii) about 0.7 mg/ml sucralose; (iii) a buffer comprising
  about 1.82 mg/ml citric acid and about 0.15 mg/ml sodium                         INCORPORATION BY REFERENCE
  citrate dihydrate; (iv) about 1 mg/ml of a preservative that is
  sodium benzoate; and (v) water; wherein the pH of the             35      All publications, patents, and patent applications men
  formulation is less than about 3.5; and wherein the formu              tioned in this specification are herein incorporated by ref
  lation is stable at about 5+3° C. for at least 12 months. In           erence to the same extent as if each individual publication,
  Some embodiments, the formulation does not contain man                 patent, or patent application was specifically and individu
  nitol. In some embodiments, the formulation does not con               ally indicated to be incorporated by reference.
  tain silicon dioxide.                                             40
     In some embodiments, the hypertension is primary (es                      BRIEF DESCRIPTION OF THE DRAWINGS
  sential) hypertension. In some embodiments, the hyperten
  sion is secondary hypertension. In some embodiments, the                 The novel features of the invention are set forth with
  Subject has blood pressure values greater than or equal to             particularity in the appended claims. A better understanding
  140/90 mmm Hg. In some embodiments, the subject is an             45   of the features and advantages of the present invention will
  adult. In some embodiments, the Subject is elderly. In some            be obtained by reference to the following detailed descrip
  embodiments, the Subject is a child. In some embodiments,              tion that sets forth illustrative embodiments, in which the
  the formulation is administered to the subject in a fasted             principles of the invention are utilized, and the accompany
  state. In some embodiments, the formulation is administered            ing drawings of which:
  to the Subject in a fed state. In some embodiments, the           50      FIG. 1: Effect of pH on degradant formation after 8 weeks
  formulation is further administered in combination with an             of storage of various enalapril solution formulations at 5°C.
  agent selected from the group consisting of diuretics, beta               FIG. 2: Effect of pH on degradant formation after 8 weeks
  blockers, alpha blockers, mixed alpha and beta blockers,               of storage of various enalapril Solution formulations at room
  calcium channel blockers, angiotensin II receptor antago               temperature (19-22 C.).
  nists, ACE inhibitors, aldosterone antagonists, and alpha-2       55
  agonists.                                                                         DETAILED DESCRIPTION OF THE
     Also provided herein are methods of treating prehyper                                   INVENTION
  tension in a Subject comprising administering to that Subject
  a therapeutically effective amount of enalapril oral liquid               Provided herein are stable enalapril oral liquid formula
  formulation comprising (i) about 1 mg/ml enalapril maleate;       60   tions. Also provided herein are stable enalapril powder
  (ii) about 0.7 mg/ml of a Sweetener that is sucralose; (ii) a          formulations for reconstitution for oral liquid administra
  buffer comprising about 1.82 mg/ml citric acid and about               tion. These enalapril formulations described herein are use
  0.15 mg/ml sodium citrate dihydrate; (iv) about 1 mg/ml of             ful for the treatment of hypertension, prehypertension, heart
  a preservative that is sodium benzoate; and (V) water;                 failure as well as ventricular dysfunction. The formulations
  wherein the pH of the formulation is less than about 3.5; and     65   are advantageous over conventional Solid dosage adminis
  wherein the formulation is stable at about 5+3° C. for at least        tration of enalapril ranging from ease of administration,
  12 months. In some embodiments, the formulation does not               accuracy of dosing, accessibility to additional patient popu
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 9 of 27 PageID: 143


                                                        US 9,669,008 B1
                                5                                                                           6
  lations such as to children and the elderly, and an increased            Enalauril Oral Liquid Formulations
  patient compliance to medication.                                           Oral liquids include, but are not limited to, solutions (both
     It is generally known that certain segments of the popu               aqueous and nonaqueous), Suspensions, emulsions, syrups,
  lation have difficulty ingesting and Swallowing Solid oral               slurries, juices, elixirs, dispersions, and the like. It is envi
  dosage forms such as tablets and capsules. As many as a                  Sioned that Solution/suspensions are also included where
  quarter of the total population has this difficulty. Often, this         certain components described herein are in a solution while
  leads to non-compliance with the recommended medical                     other components are in a suspension.
  therapy with the Solid dosage forms, thereby resulting in                   In one aspect, the enalapril liquid formulations described
  rending the therapy ineffective. Further, solid dosage forms             herein comprise enalapril, a preservative, a Sweetening
  are not recommended for children or elderly due to                  10
                                                                           agent, a buffer, and water. In one embodiment, the Sweet
  increased risk in choking.                                               ening agent is sucralose. In one embodiment, the Sweetening
     Furthermore, the dose of enalapril to be given to children            agent is xylitol. In one embodiment, the Sweetening agent is
  is calculated according to the child's weight. When the
  calculated dose is something other than the amount present               not mannitol. In another embodiment, the preservative is
  in one or more intact Solid dosage forms, the Solid dosage          15   Sodium benzoate. In some embodiments, the preservative is
  form must be divided to provide the correct dose. This leads             a paraben. In some embodiments, the preservative is a
  to inaccurate dosing when solid dosages forms, such as                   mixture of parabens. In yet another embodiment, the buffer
  tablets, are compounded to prepare other formulations for                comprises citric acid. In some embodiments, the buffer
  children.                                                                further comprises sodium citrate. In one aspect, the enalapril
     For enalapril, one solution to overcoming the use of the              liquid formulation described herein comprises enalapril,
  tablet form is for a compounding pharmacist to pulverize                 Sucralose, sodium benzoate, citric acid, Sodium citrate, and
  and crush the enalapril tablet(s) into a powder via mortar and           water. In some embodiments, the enalapril liquid formula
  pestle and reconstitute the powder in some liquid form.                  tion herein further comprises a flavoring agent. In some
  However forming a enalapril oral liquid in this fashion has              embodiments, the enalapril liquid formulation is not
  significant drawbacks including large variability in the            25   obtained from crushing enalapril tablet and dissolving the
  actual dosage, incomplete solubilizing of the enalapril tablet           powder in a suitable vehicle for oral administration. In some
  in the liquid, rapid instability, inconsistent formulation               embodiments, the enalapril liquid formulation does not
  methods per compounding pharmacy, and a number of other                  contain silicon dioxide. In some embodiments, the enalapril
  potential issues. The crushed tablet liquid formulation may              liquid formulation does not contain mannitol. In some
  also be potentially unsafe due to contamination with residual       30   embodiments, the enalapril liquid formulation does not
  drugs and other Substances from the mortar and pestle or                 contain lactose. In some embodiments, the enalapril liquid
  other crushing agent.                                                    formulation does not contain magnesium stearate. In some
     Alternatively, enalapril is formulated as enalapril powder            embodiments, the enalapril liquid formulation does not
  compositions for reconstitution as oral liquids as described             contain sodium bicarbonate. In some embodiments, the
  in U.S. Pat. No. 8,568,747. The powder compositions as              35   enalapril liquid formulation does not contain iron oxides.
  described in this patent require mannitol and colloidal                     In some embodiments, enalapril or a pharmaceutically
  silicon dioxide for stability and dissolution. While these               acceptable salt thereof, is present in about 0.6 to about 1.2
  powder compositions are an improvement over crushing                     mg/ml in the oral liquid formulation. In other embodiments,
  tablets, they still require a step of mixing with a diluent. The         enalapril or a pharmaceutically acceptable salt thereof, is
  stable enalapril oral liquid formulations described herein          40   present in about 0.6 mg/ml, about 0.61 mg/ml, about 0.62
  require no extra steps or manipulation prior to administra               mg/ml, about 0.63 mg/ml, about 0.64 mg/ml, about 0.65
  tion to a subject. Further, the stable enalapril oral liquid             mg/ml, about 0.66 mg/ml, about 0.67 mg/ml, about 0.68
  formulations described herein do not require or need man                 mg/ml, about 0.69 mg/ml, about 0.7 mg/ml, about 0.71
  nitol or colloidal silicon dioxide for stability and dissolution.        mg/ml, about 0.72 mg/ml, about 0.73 mg/ml, about 0.74
     The present embodiments described herein provide a safe          45   mg/ml, about 0.75 mg/ml, about 0.76 mg/ml, about 0.77
  and effective oral administration of enalapril for the treat             mg/ml, about 0.78 mg/ml, about 0.79 mg/ml, about 0.8
  ment of hypertension and other disorders. In particular, the             mg/ml, about 0.81 mg/ml, about 0.82 mg/ml, about 0.83
  embodiments provide stable enalapril oral liquid formula                 mg/ml, about 0.84 mg/ml, about 0.85 mg/ml, about 0.86
  tions as well as alternatively enalapril powder formulations             mg/ml, about 0.87 mg/ml, about 0.88 mg/ml, about 0.89
  for oral liquid administration.                                     50   mg/ml, about 0.9 mg/ml, about 0.91 mg/ml, about 0.92
     As used herein, “enalapril” refers to enalapril base, its             mg/ml, about 0.93 mg/ml, about 0.94 mg/ml, about 0.95
  salt, or solvate or derivative or isomer or polymorph thereof.           mg/ml, about 0.96 mg/ml, about 0.97 mg/ml, about 0.98
  Suitable compounds include the free base, the organic and                mg/ml, about 0.99 mg/ml, about 1 mg/ml, about 1.01 mg/ml.
  inorganic salts, isomers, isomer salts, Solvates, polymorphs,            about 1.02, mg/ml, about 1.03 mg/ml, about 1.04 mg/ml,
  complexes etc. U.S. Pat. Nos. 4.374,829; 4,472.380 and              55   about 1.05 mg/ml, about 1.06 mg/ml, about 1.07 mg/ml,
  4.510,083 disclose exemplary methods in the preparation of               about 1.08 mg/ml, about 1.09 mg/ml, about 1.1 mg/ml,
  enalapril. In some embodiments, the enalapril used in the                about 1.11 mg/ml, about 1.12, mg/ml, about 1.13 mg/ml.
  formulations described herein is an enalapril salt. In some              about 1.14 mg/ml, about 1.15 mg/ml, about 1.16 mg/ml.
  instances, the enalapril salt is enalapril maleate. In other             about 1.17 mg/ml, about 1.18 mg/ml, about 1.19 mg/ml, or
  instances, the enalapril salt is in the form of enalapril           60   about 1.2 mg/ml in the liquid oral formulation. In some
  Sodium.                                                                  embodiments, enalapril is present in about 0.76 mg/ml in the
     Other ACE inhibitors are contemplated in the formula                  oral liquid formulation. In some embodiments, enalapril
  tions within and include but are not limited to quinapril,               maleate is present in about 1 mg/ml in the oral liquid
  indolapril, ramipril, perindopril, lisinopril, benazepril, imi           formulation. In some embodiments, the formulation con
  dapril, Zofenopril, trandolapril, fosinopril, captopril, and        65   tains enalapril or another pharmaceutically acceptable salt of
  their salts, Solvates, derivatives, polymorphs, or complexes,            enalapril in a molar concentration equivalent to 1 mg/mL
  thereof.                                                                 enalapril maleate. In some embodiments, the formulation
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 10 of 27 PageID: 144


                                                     US 9,669,008 B1
                                 7                                                                    8
  contains enalapril or another pharmaceutically acceptable            w/w, about 0.7% w/w, about 0.75% w/w, about 0.8% w/w,
  salt of enalapril in a molar concentration equivalent to 0.76        about 0.85% w/w, about 0.9% w/w, about 0.95% w/w, or
  mg/mL enalapril.                                                     about 1% w/w of the solids in the oral liquid formulation. In
     In some embodiments, enalapril or a pharmaceutically              Some embodiments, enalapril or a pharmaceutically accept
  acceptable salt thereof, is present in about 0.5% w/w to             able salt thereof, is present in about 0.4% w/w to about 0.7%
  about 30% w/w of the solids in the oral liquid formulation.          w/w of the solids in the oral liquid formulation. In some
  In other embodiments, enalapril or a pharmaceutically                embodiments, enalapril is present in about 0.4% w/w of the
  acceptable salt thereof, is present in about 0.5% w/w, about         Solids in the oral liquid formulation. In some embodiments,
  1% w/w, about 1.5% w/w, about 2% w/w, about 2.5% w/w,                enalapril is present in about 0.5% w/w of the solids in the
  about 3% w/w, about 3.5% w/w, about 4% w/w, about 4.5%          10   oral liquid formulation. In some embodiments, enalapril
  w/w, about 5% w/w, about 5.5% w/w, about 6% w/w, about               maleate is present in about 0.5% w/w of the solids in the oral
  6.5% w/w, about 7% w/w, about 7.5% w/w, about 8% w/w,                liquid formulation. In some embodiments, enalapril maleate
  about 8.5% w/w, about 9% w/w, about 9.5% w/w, about 10%              is present in about 0.6% w/w of the solids in the oral liquid
  w/w, about 10.5% w/w, about 11% w/w, about 11.5% w/w,                formulation.
  about 12% w/w, about 12.5% w/w, about 13% w/w, about            15   Sweetener in the Enalapril Oral Liquid Formulations
  13.5% w/w, about 14% w/w, about 14.5% w/w, about 15%                    Sweeteners or Sweetening agents include any compounds
  w/w, about 15.1% w/w, about 15.2% w/w, about 15.3% w/w,              that provide a Sweet taste. This includes natural and Syn
  about 15.4% w/w, about 15.5% w/w, about 15.6% w/w,                   thetic Sugars, natural and artificial Sweeteners, natural
  about 15.7% w/w, about 15.8% w/w, about 15.9% w/w,                   extracts and any material that initiates a Sweet sensation in
  about 16% w/w, about 16.1% w/w, about 16.2% w/w, about               a subject. In some embodiments, a solid/powder Sweetener
  16.3% w/w, about 16.4% w/w, about 16.5% w/w, about                   is used in the oral liquid formulation described herein. In
  16.6% w/w, about 16.7% w/w, about 16.8% w/w, about                   other embodiments, a liquid Sweetener is used in the oral
  16.9% w/w, about 17% w/w, about 17.1% w/w, about 17.2%               liquid formulation described herein.
  w/w, about 17.3% w/w, about 17.4% w/w, about 17.5% w/w,                 Sugars illustratively include glucose, fructose, Sucrose,
  about 17.6% w/w, about 17.7% w/w, about 17.8% w/w,              25   Xylitol, tagatose, Sucralose, maltitol, isomalitulose, Isomalt TM
  about 17.9% w/w, about 18% w/w, about 18.1% w/w, about               (hydrogenated isomalitulose), lactitol, Sorbitol, erythritol,
  18.2% w/w, about 18.3% w/w, about 18.4% w/w, about                   trehalose, maltodextrin, polydextrose, and the like. Other
  18.5% w/w, about 18.6% w/w, about 18.7% w/w, about                   Sweeteners illustratively include glycerin, inulin, erythritol,
  18.8% w/w, about 18.9% w/w, about 19% w/w, about 19.1%               maltol, acesulfame and salts thereof, e.g., acesulfame potas
  w/w, about 19.2% w/w, about 19.3% w/w, about 19.4% w/w,         30   sium, alitame, aspartame, neotame, sodium cyclamate, sac
  about 19.5% w/w, about 19.6% w/w, about 19.7% w/w,                   charin and salts thereof, e.g., Saccharin sodium or saccharin
  about 19.8% w/w, about 19.9% w/w, about 20% w/w, about               calcium, neohesperidin dihydrochalcone, Stevioside, thau
  20.1% w/w, about 20.2% w/w, about 20.3% w/w, about                   matin, and the like. Sweeteners can be used in the form of
  20.4% w/w, about 20.5% w/w, about 20.6% w/w, about                   crude or refined products such as hydrogenated Starch
  20.7% w/w, about 20.8% w/w, about 20.9% w/w, about 21%          35   hydrolysates, maltitol syrup, high fructose corn syrup, etc.,
  wfw, about 21.1% w/w, about 21.2% w/w, about 21.3% w/w,              and as branded products, e.g., Sweet AmTM liquid (Product
  about 21.4% w/w, about 21.5% w/w, about 21.6% w/w,                   Code 918.003-propylene glycol, ethyl alcohol, and propri
  about 21.7% w/w, about 21.8% w/w, about 21.9% w/w,                   etary artificial flavor combination, Flavors of North
  about 22% w/w, about 22.5% w/w, about 23% w/w, about                 America) and Sweet AmTM powder (Product Code
  23.5% w/w, about 24% w/w, about 24.5% w/w, about 25%            40   918.005—maltodextrin, sorbitol, and fructose combination
  w/w, about 25.5% w/w, about 26% w/w, about 26.5% w/w,                and Product Code 918.010 water, propylene glycol, sor
  about 27% w/w, about 27.5% w/w, about 28% w/w, about                 bitol, fructose, and proprietary natural and artificial flavor
  28.5% w/w, about 29% w/w, about 29.5% w/w, or about                  combination, Flavors of North America), ProSweetTM
  30% w/w of the solids in the oral liquid formulation. In some        (1-10% proprietary plant/vegetable extract and 90-99% dex
  embodiments, enalapril or a pharmaceutically acceptable         45   trose combination, Viriginia Dare), MaltisweetTM (maltitol
  salt thereof, is present in about 10% w/w to about 25% w/w           solution, Ingredion), SorboTM (sorbitol and sorbitol/xylitol
  of the solids in the oral liquid formulation. In some embodi         solution, SPI Polyols), Invertose T (high fructose corn syrup,
  ments, enalapril is present in about 10.5% w/w of the solids         Ingredion), Rebalance M60 and X60 (sucralose and malto
  in the oral liquid formulation. In some embodiments, enal            dextrin, Tate and Lyle), and Ora-Sweet(R) sugar-free flavored
  april is present in about 15% w/w of the solids in the oral     50   syrup (Paddock Laboratories, Inc.). Sweeteners can be used
  liquid formulation. In some embodiments, enalapril is pres           singly or in combinations of two or more. Suitable concen
  ent in about 18.2% w/w of the solids in the oral liquid              trations of different sweeteners can be selected based on
  formulation. In some embodiments, enalapril maleate is               published information, manufacturers’ data sheets and by
  present in about 13.5% w/w of the solids in the oral liquid          routine testing.
  formulation. In some embodiments, enalapril maleate is          55      In some embodiments, the enalapril oral liquid formula
  present in about 19.3% w/w of the solids in the oral liquid          tion described herein comprises a Sweetening agent. In some
  formulation. In some embodiments, enalapril maleate is               embodiments, the Sweetening agent is sucralose. In some
  present in about 24.5% w/w of the solids in the oral liquid          embodiments, the Sweetening agent is xylitol. In some
  formulation.                                                         embodiments, the Sweetener is not mannitol.
    In some embodiments, enalapril or a pharmaceutically          60      In some embodiments, the enalapril oral liquid formula
  acceptable salt thereof, is present in about 0.1% w/w to             tion described herein comprises Sucralose. In some embodi
  about 1% w/w of the solids in the oral liquid formulation. In        ments, sucralose is present in about 0.5 to about 0.9 mg/ml
  other embodiments, enalapril or a pharmaceutically accept            in the oral liquid formulation. In other embodiments, sucral
  able salt thereof, is present in about 0.1% w/w, about 0.15%         ose is present in about 0.51 mg/ml, about 0.52 mg/ml, about
  w/w, about 0.2% w/w, about 0.25% w/w, about 0.3% w/w,           65   0.53 mg/ml, about 0.54 mg/ml, about 0.55 mg/ml, about
  about 0.35% w/w, about 0.4% w/w, about 0.45% w/w, about              0.56 mg/ml, about 0.57 mg/ml, about 0.58 mg/ml, about
  0.5% w/w, about 0.55% w/w, about 0.6% w/w, about 0.65%               0.59 mg/ml, about 0.60 mg/ml, about 0.61 mg/ml, about
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 11 of 27 PageID: 145


                                                    US 9,669,008 B1
                                                                                                    10
  0.62 mg/ml, about 0.63 mg/ml, about 0.64 mg/ml, about               in the oral liquid formulation. In some embodiments, xylitol
  0.65 mg/ml, about 0.66 mg/ml, about 0.67 mg/ml, about               is present in about 96% w/w of the solids in the oral liquid
  0.68 mg/ml, about 0.69 mg/ml, about 0.70 mg/ml, about formulation.
  0.71 mg/ml, about 0.72 mg/ml, about 0.73 mg/ml, about Preservative in the Enalapril Oral Liquid Formulations
  0.74 mg/ml, about 0.75 mg/ml, about 0.76 mg/ml, about 5 Preservatives include anti-microbials, anti-oxidants, and
  0.77 mg/ml, about 0.78 mg/ml, about 0.79 mg/ml, about agents that enhance sterility. Exemplary preservatives
  0.80 mg/ml, about 0.81 mg/ml, about 0.82 mg/ml, about include ascorbic acid, ascorbyl palmitate. BHA, BHT, citric
  0.83 mg/ml, about 0.84 mg/ml, about 0.85 mg/ml, about acid, EDTA and its salts, erythorbic acid, fumaric acid, malic
  0.86 mg/ml, about 0.87 mg/ml, about 0.88 mg/ml, about 10 acid, propyl gallate, Sodium ascorbate, sodium bisulfate,
                                                             Sodium metabisulfite, Sodium Sulfite, parabens (such as
  0.89 mg/ml, or about 0.90 mg/ml in the oral liquid formu methylparaben,      ethylparaben, propylparaben, butylparaben
  lation. In some embodiments, Sucralose is present in about and their salts), benzoic acid, Sodium benzoate, potassium
  0.7 mg/ml in the oral liquid formulation.                  sorbate, Vanillin, and the like.
     In some embodiments, sucralose is present in about 1%      In some embodiments, the enalapril oral liquid formula
  w/w to about 30% w/w of the solids in the oral liquid 15 tion described herein comprises a preservative.
  formulation. In some embodiments, Sucralose is present in     In some embodiments, the preservative is a paraben and
  about 1% w/w, about 1.5% w/w, about 2% w/w, about 2.5%     the Sweetener is not a Sugar (such as, but not limited to
  wfw, about 3% w/w, about 3.5% w/w, about 4% w/w, about     glucose, fructose, Sucrose, lactose, maltose) or a Sugar
  4.5% w/w, about 5% w/w, about 5.5% w/w, about 6% w/w,      alcohol (Such as, but not limited to Xylitol, mannitol, lactitol,
  about 6.5% w/w, about 7% w/w, about 7.5% w/w, about 8% 20 maltitol, sorbitol).
  w/w, about 8.5% w/w, about 9% w/w, about 9.5% w/w,            In some embodiments, the preservative is sodium benzo
  about 10% w/w, about 10.5% w/w, about 11% w/w, about     ate.
  11.5% w/w, about 12% w/w, about 12.5% w/w, about 13%        In some embodiments, modulation of the pH is desired to
  w/w, about 13.5% w/w, about 14% w/w, about 14.5% w/w,    provide the best antimicrobial activity of the preservative,
  about 15% w/w, about 15.5% w/w, about 16% w/w, about 25 Sodium benzoate. In some embodiments, the antimicrobial
  16.5% w/w, about 17% w/w, about 17.5% w/w, about 18%     activity of sodium benzoate drops when the pH is increased
  w/w, about 18.5% w/w, about 19% w/w, about 19.5% w/w,    above 5.
  about 20% w/w, about 20.5% w/w, about 21% w/w, about        In some embodiments, the pH of the enalapril oral liquid
  21.5% w/w, about 22% w/w, about 22.5% w/w, about 23%     formulation described herein is less than about 4. In some
  w/w, about 23.5% w/w, about 24% w/w, about 24.5% w/w, 30 embodiments, the pH of the enalapril oral liquid formulation
  about 25% w/w, about 25.5% w/w, about 26% w/w, about     described herein is less than about 3.5. In some embodi
  26.5% w/w, about 27% w/w, about 27.5% w/w, about 28%     ments, the pH of the enalapril oral liquid formulation
  w/w, about 28.5% w/w, about 29% w/w, about 29.5% w/w,    described herein is between about 3 and about 4. In some
  or about 30% w/w of the solids in the oral liquid formula           embodiments, the pH of the enalapril oral liquid formulation
  tion. In some embodiments, sucralose is present in about 8%    35   described herein is between about 3 and about 3.5. In some
  w/w to about 18% w/w of the solids in the oral liquid               embodiments, the pH of the enalapril oral liquid formulation
  formulation. In some embodiments, Sucralose is present in           described herein is about 3, about 3.1, about 3.2, about 3.3,
  about 9.5% w/w of the solids in the oral liquid formulation.        about 3.4, about 3.5, about 3.6, about 3.7, about 3.8, about
  In some embodiments, sucralose is present in about 13.5%          3.9, or about 4. In some embodiments, the pH of the
  w/w of the solids in the oral liquid formulation. In some      40 enalapril oral liquid formulation described herein is about
  embodiments, sucralose is present in about 16.5% w/w of             3.3.
  the solids in the oral liquid formulation.                             In some embodiments, sodium benzoate is present in
     In some embodiments, the enalapril oral liquid formula           about 0.2 to about 1.2 mg/ml in the oral liquid formulation.
  tion described herein comprises xylitol. In some embodi             In other embodiments, sodium benzoate is present in about
  ments, xylitol is present in about 140 mg/ml to about 210      45   0.2 mg/ml, about 0.21 mg/ml, about 0.22 mg/ml, about 0.23
  mg/ml in the oral liquid formulation.                               mg/ml, about 0.24 mg/ml, about 0.25 mg/ml, about 0.26
     In some embodiments, xylitol is present in about 140             mg/ml, about 0.27 mg/ml, about 0.28 mg/ml, about 0.29
  mg/ml, about 145 mg/ml, about 150 mg/ml, about 155                  mg/ml, about 0.3 mg/ml, about 0.31 mg/ml, about 0.32
  mg/ml, about 160 mg/ml, about 165 mg/ml, about 170                  mg/ml, about 0.33 mg/ml, about 0.34 mg/ml, about 0.35
  mg/ml, about 175 mg/ml, about 180 mg/ml, about 185             50   mg/ml, about 0.36 mg/ml, about 0.37 mg/ml, about 0.38
  mg/ml, about 190 mg/ml, about 195 mg/ml, about 200                  mg/ml, about 0.39 mg/ml, about 0.4 mg/ml, about 0.41
  mg/ml, about 205 mg/ml, or about 210 mg/ml of the oral              mg/ml, about 0.42 mg/ml, about 0.43 mg/ml, about 0.44
  liquid formulation. In some embodiments, xylitol is present         mg/ml, about 0.45 mg/ml, about 0.46 mg/ml, about 0.47
  in about 150 mg/ml in the oral liquid formulation. In some          mg/ml, about 0.48 mg/ml, about 0.49 mg/ml, about 0.5
  embodiments, xylitol is present in about 200 mg/ml in the      55   mg/ml, about 0.51 mg/ml, about 0.52 mg/ml, about 0.53
  oral liquid formulation.                                            mg/ml, about 0.54 mg/ml, about 0.55 mg/ml, about 0.56
     In some embodiments, xylitol is present in about 80%             mg/ml, about 0.57 mg/ml, about 0.58 mg/ml, about 0.59
  w/w to about 99% w/w of the solids in the oral liquid               mg/ml, about 0.6 mg/ml, about 0.61 mg/ml, about 0.62
  formulation. In other embodiments, xylitol is present in            mg/ml, about 0.63 mg/ml, about 0.64 mg/ml, about 0.65
  about 80% w/w, about 81% w/w, about 82% w/w, about 83% 60           mg/ml, about 0.66 mg/ml, about 0.67 mg/ml, about 0.68
  w/w, about 84% w/w, about 85% w/w, about 86% w/w,                   mg/ml, about 0.69 mg/ml, about 0.7 mg/ml, about 0.71
  about 87% w/w, about 88% w/w, about 89% w/w, about 90%              mg/ml, about 0.72 mg/ml, about 0.73 mg/ml, about 0.74
  w/w, about 91% w/w, about 92% w/w, about 93% w/w,                   mg/ml, about 0.75 mg/ml, about 0.76 mg/ml, about 0.77
  about 94% w/w, about 95% w/w, about 96% w/w, about 97%              mg/ml, about 0.78 mg/ml, about 0.79 mg/ml, about 0.8
  w/w, about 98% w/w, or about 99% w/w of the solids in the 65        mg/ml, about 0.81 mg/ml, about 0.82 mg/ml, about 0.83
  oral liquid formulation. In some embodiments, Xylitol is            mg/ml, about 0.84 mg/ml, about 0.85 mg/ml, about 0.86
  present in about 96% w/w to about 98% w/w of the solids             mg/ml, about 0.87 mg/ml, about 0.88 mg/ml, about 0.89
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 12 of 27 PageID: 146


                                                      US 9,669,008 B1
                               11                                                                    12
  mg/ml, about 0.9 mg/ml, about 0.91 mg/ml, about 0.92                  0.55% w/w, about 0.6% w/w, about 0.65% w/w, about 0.7%
  mg/ml, about 0.93 mg/ml, about 0.94 mg/ml, about 0.95                 w/w, about 0.75% w/w, about 0.8% w/w, about 0.85% w/w,
  mg/ml, about 0.96 mg/ml, about 0.97 mg/ml, about 0.98                 about 0.9% w/w, about 0.95% w/w, or about 1% w/w of the
  mg/ml, about 0.99 mg/ml, about 1 mg/ml, about 1.01 mg/ml.             Solids in the oral liquid formulation. In some embodiments,
  about 1.02, mg/ml, about 1.03 mg/ml, about 1.04 mg/ml,                sodium benzoate is present in about 0.4% w/w to about 0.7%
  about 1.05 mg/ml, about 1.06 mg/ml, about 1.07 mg/ml,                 w/w of the solids in the oral liquid formulation. In some
  about 1.08 mg/ml, about 1.09 mg/ml, about 1.1 mg/ml,                  embodiments, sodium benzoate is present in about 0.45%
  about 1.11 mg/ml, about 1.12, mg/ml, about 1.13 mg/ml.                w/w of the solids in the oral liquid formulation. In some
  about 1.14 mg/ml, about 1.15 mg/ml, about 1.16 mg/ml.                 embodiments, sodium benzoate is present in about 0.6%
  about 1.17 mg/ml, about 1.18 mg/ml, about 1.19 mg/ml, or         10
                                                                        w/w of the solids in the oral liquid formulation.
  about 1.2 mg/ml in the liquid oral formulation. In some                  In some embodiments, sodium benzoate is present in an
  embodiments, sodium benzoate is present in about 1 mg/ml              amount sufficient to provide antimicrobial effectiveness to
  in the oral liquid formulation.                                       the enalapril oral liquid formulation described herein. (See
     In Some embodiments, sodium benzoate is present in
  about 1% w/w to about 30% w/w of the solids in the oral          15   Table G-1).
  liquid formulation. In other embodiments, Sodium benzoate                In some embodiments, the preservative is a paraben. In
  is present in about 1% w/w, about 1.5% w/w, about 2% w/w,             Some embodiments, the preservative is a mixture of para
  about 2.5% w/w, about 3% w/w, about 3.5% w/w, about 4%                bens. In some embodiments, the paraben or mixture of
  w/w, about 4.5% w/w, about 5% w/w, about 5.5% w/w,                    parabens is present in about 0.1 mg/ml to about 2 mg/ml in
  about 6% w/w, about 6.5% w/w, about 7% w/w, about 7.5%                the oral liquid formulation. In other embodiments, the
  w/w, about 8% w/w, about 8.5% w/w, about 9% w/w, about                paraben or mixture of parabens is present in about 0.1
  9.5% w/w, about 10% w/w, about 10.5% w/w, about 11%                   mg/ml, about 0.2 mg/ml, about 0.3 mg/ml, about 0.4 mg/ml.
  w/w, about 11.5% w/w, about 12% w/w, about 12.5% w/w,                 about 0.5 mg/ml, about 0.6 mg/ml, about 0.7 mg/ml, about
  about 13% w/w, about 13.5% w/w, about 14% w/w, about                  0.8 mg/ml, about 0.9 mg/ml, about 1 mg/ml, about 1.1
  14.5% w/w, about 15% w/w, about 15.1% w/w, about 15.2%           25   mg/ml, about 1.2 mg/ml, about 1.3 mg/ml, about 1.4 mg/ml.
  w/w, about 15.3% w/w, about 15.4% w/w, about 15.5% w/w,               or about 1.5 mg/ml, about 1.6 mg/ml, about 1.7 mg/ml.
  about 15.6% w/w, about 15.7% w/w, about 15.8% w/w,                    about 1.8 mg/ml, about 1.9 mg/ml, or about 2 mg/ml in the
  about 15.9% w/w, about 16% w/w, about 16.1% w/w, about                liquid oral formulation. In some embodiments, the paraben
  16.2% w/w, about 16.3% w/w, about 16.4% w/w, about                    or mixture of parabens is present in about 1.6 mg/ml to about
  16.5% w/w, about 16.6% w/w, about 16.7% w/w, about               30   2 mg/ml in the oral liquid formulation. In some embodi
  16.8% w/w, about 16.9% w/w, about 17% w/w, about 17.1%                ments, the paraben or mixture of parabens is present in about
  wfw, about 17.2% w/w, about 17.3% w/w, about 17.4% w/w,               1.6 mg/ml to about 1.8 mg/ml in the oral liquid formulation.
  about 17.5% w/w, about 17.6% w/w, about 17.7% w/w,                    In some embodiments, the paraben or mixture of parabens is
  about 17.8% w/w, about 17.9% w/w, about 18% w/w, about                present in about 0.1 mg/ml to about 0.5 mg/ml in the oral
  18.1% w/w, about 18.2% w/w, about 18.3% w/w, about               35   liquid formulation.
  18.4% w/w, about 18.5% w/w, about 18.6% w/w, about                       In some embodiments, the paraben or mixture of parabens
  18.7% w/w, about 18.8% w/w, about 18.9% w/w, about 19%                is present in about 2% w/w to about 30% w/w of the solids
  w/w, about 19.1% w/w, about 19.2% w/w, about 19.3% w/w,               in the oral liquid formulation. In other embodiments, the
  about 19.4% w/w, about 19.5% w/w, about 19.6% w/w,                    paraben or mixture of parabens is present in about 2% w/w,
  about 19.7% w/w, about 19.8% w/w, about 19.9% w/w,               40   about 3% w/w, about 4% w/w, about 5% w/w, about 6%
  about 20% w/w, about 20.1% w/w, about 20.2% w/w, about                w/w, about 7% w/w, about 8% w/w, about 9% w/w, about
  20.3% w/w, about 20.4% w/w, about 20.5% w/w, about                    10% w/w, about 11% w/w, about 12% w/w, about 13% w/w,
  20.6% w/w, about 20.7% w/w, about 20.8% w/w, about                    about 14% w/w, about 15% w/w, about 16% w/w, about 17%
  20.9% w/w, about 21% w/w, about 21.1% w/w, about 21.2%                w/w, about 18% w/w, about 19% w/w, about 20% w/w,
  w/w, about 21.3% w/w, about 21.4% w/w, about 21.5% w/w,          45   about 21% w/w, about 22% w/w, about 23% w/w, about 24%
  about 21.6% w/w, about 21.7% w/w, about 21.8% w/w,                    w/w, about 25% w/w, about 26% w/w, about 27% w/w,
  about 21.9% w/w, about 22% w/w, about 22.5% w/w, about                about 28% w/w, about 29% w/w, or about 30% w/w of the
  23% w/w, about 23.5% w/w, about 24% w/w, about 24.5%                  Solids in the oral liquid formulation. In some embodiments,
  w/w, about 25% w/w, about 25.5% w/w, about 26% w/w,                   the paraben or mixture of parabens is present in about 2%
  about 26.5% w/w, about 27% w/w, about 27.5% w/w, about           50   w/w to about 3% w/w of the solids in the oral liquid
  28% w/w, about 28.5% w/w, about 29% w/w, about 29.5%                  formulation. In some embodiments, the paraben or mixture
  w/w, or about 30% w/w of the solids in the oral liquid                of parabens is present in about 23% w/w to about 26% w/w
  formulation. In some embodiments, sodium benzoate is                  of the solids in the oral liquid formulation. In some embodi
  present in about 10% w/w to about 25% w/w of the solids               ments, the paraben or mixture of parabens is present in about
  in the oral liquid formulation. In some embodiments, sodium      55   26% w/w to about 30% w/w of the solids in the oral liquid
  benzoate is present in about 13.5% w/w of the solids in the           formulation.
  oral liquid formulation. In some embodiments, Sodium ben              Sweetener and Preservative Incompatibility
  Zoate is present in about 19.3% w/w of the solids in the oral            Paraben preservatives (especially methylparaben) can
  liquid formulation. In some embodiments, sodium benzoate              react with selected Sugars (glucose, fructose, Sucrose, lac
  is present in about 23.5% w/w of the solids in the oral liquid   60   tose, maltose) and Sugar alcohols (Xylitol, mannitol, lactitol,
  formulation.                                                          maltitol, sorbitol) to form transesterification reaction prod
    In Some embodiments, sodium benzoate is present in                  ucts. This can be undesirable from a formulation and sta
  about 0.1% w/w to about 1% w/w of the solids in the oral              bility standpoint as the transesterification creates additional
  liquid formulation. In other embodiments, Sodium benzoate             degradants.
  is present in about 0.1% w/w, about 0.15% w/w, about 0.2%        65      In some embodiments, the enalapril oral liquid formula
  w/w, about 0.25% w/w, about 0.3% w/w, about 0.35% w/w,                tion described herein does not comprise a paraben preser
  about 0.4% w/w, about 0.45% w/w, about 0.5% w/w, about                vative. In further embodiments, the enalapril oral liquid
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 13 of 27 PageID: 147


                                                      US 9,669,008 B1
                              13
  formulation described herein does not comprise a paraben                                          -continued
  preservative when the formulation also comprises a Sugar or
  Sugar alcohol.
  pH of Enalapril Oral Liquid Formulations
     Buffering agents maintain the pH of the liquid enalapril
  formulation. Non-limiting examples of buffering agents                                                CH3
  include, but are not limited to Sodium bicarbonate, potas
  sium bicarbonate, magnesium hydroxide, magnesium lac                              HO        ''.                 N
  tate, magnesium glucomate, aluminum hydroxide, alumi             10                               H
  num hydroxide/sodium bicarbonate co-precipitate, mixture                               O                    O        O
  of an amino acid and a buffer, a mixture of aluminum                                                            HO
  glycinate and a buffer, a mixture of an acid salt of an amino                                     enalaprilat
  acid and a buffer, and a mixture of an alkali Salt of an amino
                                                                   15
  acid and a buffer. Additional buffering agents include citric
  acid, sodium citrate, Sodium tartarate, sodium acetate,                 In some embodiments, the percentage of enalaprilat for
  Sodium carbonate, Sodium polyphosphate, potassium poly                mation is increased when the pH is above 3.5. (See table C-2
  phosphate, Sodium pyrophosphate, potassium pyrophos                   and FIG. 1 and FIG. 2). In some embodiments, the percent
  phate, disodium hydrogenphosphate, dipotassium hydrogen               age of enalapril diketopiperazine formation is slightly
  phosphate, trisodium phosphate, tripotassium phosphate,               increased as the pH is below 4.
  Sodium acetate, potassium metaphosphate, magnesium                      In some embodiments, the pH of the enalapril oral liquid
                                                                        formulation described herein is less than about 4. In some
  oxide, magnesium hydroxide, magnesium carbonate, mag                  embodiments, the pH of the enalapril oral liquid formulation
  nesium silicate, calcium acetate, calcium glycerophosphate,           described herein is less than about 3.5. In some embodi
  calcium chloride, calcium hydroxide, calcium lactate, cal        25   ments, the pH of the enalapril oral liquid formulation
  cium carbonate, calcium bicarbonate, and other calcium                described herein is between about 3 and about 4. In some
  salts. Some buffering agents also impart effervescent quali           embodiments, the pH of the enalapril oral liquid formulation
  ties when a powder is reconstituted in a solution. In some            described herein is between about 3 and about 3.5. In some
  embodiments, the buffering agent is not sodium bicarbonate.           embodiments, the pH of the enalapril oral liquid formulation
     In some embodiments, the oral liquid formulation com          30   described herein is about 3, about 3.1, about 3.2, about 3.3,
  prises a buffer.                                                      about 3.4, about 3.5, about 3.6, about 3.7, about 3.8, about
     In some embodiments, the buffer in the enalapril oral
                                                                        3.9, or about 4. In some embodiments, the pH of the
                                                                        enalapril oral liquid formulation described herein is about
  liquid formulation described herein comprises citric acid. In         3.3.
  some embodiments, the buffer in the enalapril oral liquid        35      In Some embodiments, the formation of degradants is
  formulation described herein comprises citric acid and                dependent on the buffer concentration. In some embodi
  sodium citrate. In some embodiments, the buffer in the                ments, the buffer concentration impacts the taste of the
  enalapril oral liquid formulation described herein comprises          enalapril oral liquid formulation.
  citric acid and sodium citrate dihydrate or an equivalent               In some embodiments, the buffer concentration is
  molar amount of sodium citrate anhydrous. In some embodi         40   between about 5 mM and about 20 mM. In some embodi
  ments, the Sodium citrate is monosodium citrate. In some              ments, the buffer concentration is about 5 mM, about 6 mM,
  embodiments, the Sodium citrate is disodium citrate. In some          about 7 mM, about 8 mM, about 9 mM, about 10 mM, about
  embodiments, the Sodium citrate is trisodium citrate.                 11 mM, about 12 mM, about 13 mM, about 14 mM, about
     In some embodiments, the buffer in the enalapril oral              15 mM, about 16 mM, about 17 mM, about 18 mM, about
  liquid formulation described herein comprises phosphoric         45   19 mM, or about 20 mM. In some embodiments, the buffer
  acid. In some embodiments, the buffer in the enalapril oral           concentration is about 5 mM. In some embodiments, the
  liquid formulation described herein comprises sodium phos             buffer concentration is about 10 mM. In some embodiments,
  phate.                                                                the buffer concentration is about 20 mM.
     In some embodiments, modulation of the pH is desired to               In some embodiments, citric acid is present in about 0.7
  provide a lowered impurity profile. In the exemplary stabil      50   to about 2 mg/ml in the oral liquid formulation. In other
  ity studies, the main enalapril degradants are enalapril              embodiments, citric acid is present in about 0.7 mg/ml.
  diketopiperazine and enalaprilat:                                     about 0.71 mg/ml, about 0.72 mg/ml, about 0.73 mg/ml,
                                                                        about 0.74 mg/ml, about 0.75 mg/ml, about 0.76 mg/ml,
                                                                        about 0.77 mg/ml, about 0.78 mg/ml, about 0.79 mg/ml,
                                                                   55   about 0.8 mg/ml, about 0.81 mg/ml, about 0.82 mg/ml,
                                                                        about 0.83 mg/ml, about 0.84 mg/ml, about 0.85 mg/ml,
                                                                        about 0.86 mg/ml, about 0.87 mg/ml, about 0.88 mg/ml,
                                                                        about 0.89 mg/ml, about 0.9 mg/mL, about 0.91 mg/mL,
                                                                        about 0.92 mg/mL, about 0.93 mg/mL, about 0.94 mg/mL,
                                                                   60   about 0.95 mg/mL, about 0.96 mg/mL, about 0.97 mg/mL,
                                                                        about 0.98 mg/mL, about 0.99 mg/mL, about 1 mg/mL,
                                                                        about 1.11 mg/ml, about 1.12 mg/ml, about 1.13 mg/ml.
                                                                        about 1.14 mg/ml, about 1.15 mg/ml, about 1.16 mg/ml.
                                                                        about 1.17 mg/ml, about 1.18 mg/ml, about 1.19 mg/ml,
                                                                   65   about 1.2 mg/ml, about 1.21 mg/ml, about 1.22 mg/ml.
                       enalapril diketopiperazine                       about 1.23 mg/ml, about 1.24 mg/ml, about 1.25 mg/ml.
                                                                        about 1.26 mg/ml, about 1.27 mg/ml, about 1.28 mg/ml.
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 14 of 27 PageID: 148


                                                      US 9,669,008 B1
                                15                                                                    16
  about 1.29 mg/ml, about 1.3 mg/mL, about 1.31 mg/mL,                  embodiments, citric acid is present in about 19% w/w of the
  about 1.32 mg/mL, about 1.33 mg/mL, about 1.34 mg/mL,                 solids in the oral liquid formulation.
  about 1.35 mg/mL, about 1.36 mg/mL, about 1.37 mg/mL,                    In some embodiments, citric acid is present in about 1%
  about 1.38 mg/mL, about 1.39 mg/mL, about 1.4 mg/ml.                  w/w to about 5% w/w of the solids in the oral liquid
  about 1.41 mg/ml, about 1.42 mg/ml, about 1.43 mg/ml.                 formulation. In other embodiments, citric acid is present in
  about 1.44 mg/ml, about 1.45 mg/ml, about 1.46 mg/ml.                 about 1% w/w, about 1.1% w/w, about 1.2% w/w, about
  about 1.47 mg/ml, about 1.48 mg/ml, about 1.49 mg/ml.                 1.3% w/w, about 1.4% w/w, about 1.5% w/w, about 1.6%
  about 1.5 mg/ml, about 1.51 mg/ml, about 1.52 mg/ml.                  w/w, about 1.7% w/w, about 1.8% w/w, about 1.9% w/w,
  about 1.53 mg/ml, about 1.54 mg/ml, about 1.55 mg/ml,                 about 2% w/w, about 2.1% w/w, about 2.2% w/w, about
  about 1.56 mg/ml, about 1.57 mg/ml, about 1.58 mg/ml,            10   2.3% w/w, about 2.4% w/w, about 2.5% w/w, about 2.6%
  about 1.59 mg/ml, about 1.6 mg/mL, about 1.61 mg/mL,                  w/w, about 2.7% w/w, about 2.8% w/w, about 2.9% w/w,
  about 1.62 mg/mL, about 1.63 mg/mL, about 1.64 mg/mL,                 about 3% w/w, about 3.1% w/w, about 3.2% w/w, about
  about 1.65 mg/mL, about 1.66 mg/mL, about 1.67 mg/mL,                 3.3% w/w, about 3.4% w/w, about 3.5% w/w, about 3.6%
                                                                        w/w, about 3.7% w/w, about 3.8% w/w, about 3.9% w/w,
  about 1.68 mg/mL, about 1.69 mg/mL, about 1.7 mg/ml,             15   about 4% w/w, about 4.1% w/w, about 4.2% w/w, about
  about 1.71 mg/ml, about 1.72 mg/ml, about 1.73 mg/ml,                 4.3% w/w, about 4.4% w/w, about 4.5% w/w, about 4.6%
  about 1.74 mg/ml, about 1.75 mg/ml, about 1.76 mg/ml,                 wfw, about 4.7% w/w, about 4.8% w/w, about 4.9% w/w, or
  about 1.77 mg/ml, about 1.78 mg/ml, about 1.79 mg/ml,                 about 5% w/w of the solids in the oral liquid formulation. In
  about 1.8 mg/ml, about 1.81 mg/ml, about 1.82 mg/ml.                  some embodiments, citric acid is present in about 2.1% w/w
  about 1.83 mg/ml, about 1.84 mg/ml, about 1.85 mg/ml,                 of the solids in the oral liquid formulation. In some embodi
  about 1.86 mg/ml, about 1.87 mg/ml, about 1.88 mg/ml,                 ments, citric acid is present in about 1.6% w/w of the solids
  about 1.89 mg/ml, about 1.9 mg/mL, about 1.91 mg/mL,                  in the oral liquid formulation.
  about 1.92 mg/mL, about 1.93 mg/mL, about 1.94 mg/mL,                    In some embodiments, Sodium citrate dihydrate is present
  about 1.95 mg/mL, about 1.96 mg/mL, about 1.97 mg/mL,                 in about 0.1 to about 0.8 mg/ml in the oral liquid formula
  about 1.98 mg/mL, about 1.99 mg/mL, or about 2 mg/mL in          25   tion. In other embodiments, sodium citrate dihydrate is
  the oral liquid formulation. In some embodiments, citric acid         present in the oral liquid formulation is about 0.1 mg/mL,
  is present in about 1.65 mg/ml in the oral liquid formulation.        about 0.11 mg/mL, about 0.12 mg/mL, about 0.13 mg/mL,
  In some embodiments, citric acid is present in about 1.82             about 0.14 mg/mL, about 0.15 mg/ml, about 0.16 mg/mL,
  mg/ml in the oral liquid formulation. In some embodiments,            about 0.17 mg/mL, about 0.18 mg/mL, about 0.19 mg/mL,
  citric acid is present in about 0.82 mg/ml in the oral liquid    30   about 0.2 mg/ml, about 0.21 mg/ml, about 0.22 mg/ml.
  formulation.                                                          about 0.23 mg/ml, about 0.24 mg/ml, about 0.25 mg/ml,
     In some embodiments, citric acid is present in about 2 to          about 0.26 mg/ml, about 0.27 mg/ml, about 0.28 mg/ml,
  about 3.5 mg/ml in the oral liquid formulation. In other              about 0.29 mg/ml, about 0.3 mg/ml, about 0.31 mg/ml,
  embodiments, citric acid is present in about 2 mg/mL, about           about 0.32 mg/ml, about 0.33 mg/ml, about 0.34 mg/ml,
  2.05 mg/mL, about 2.1 mg/mL, about 2.15 mg/mL, about             35   about 0.35 mg/ml, about 0.36 mg/ml, about 0.37 mg/ml,
  2.2 mg/mL, about 2.25 mg/mL, about 2.3 mg/mL, about                   about 0.38 mg/ml, about 0.39 mg/ml, about 0.4 mg/ml,
  2.35 mg/mL, about 2.4 mg/mL, about 2.45 mg/mL, about                  about 0.41 mg/ml, about 0.42 mg/ml, about 0.43 mg/ml,
  2.5 mg/mL, about 2.55 mg/mL, about 2.6 mg/mL, about                   about 0.44 mg/ml, about 0.45 mg/ml, about 0.46 mg/ml,
  2.65 mg/mL, about 2.7 mg/mL, about 2.75 mg/mL, about                  about 0.47 mg/ml, about 0.48 mg/ml, about 0.49 mg/ml,
  2.8 mg/mL, about 2.85 mg/mL, about 2.9 mg/mL, about              40   about 0.5 mg/ml, about 0.51 mg/ml, about 0.52 mg/ml,
  2.95 mg/mL, about 3 mg/mL, about 3.05 mg/ml, about 3.1                about 0.53 mg/ml, about 0.54 mg/ml, about 0.55 mg/ml,
  mg/mL, about 3.15 mg/mL, about 3.2 mg/mL, about 3.25                  about 0.56 mg/ml, about 0.57 mg/ml, about 0.58 mg/ml,
  mg/mL, about 3.3 mg/mL, about 3.35 mg/mL, about 3.4                   about 0.59 mg/ml, about 0.6 mg/ml, about 0.61 mg/ml,
  mg/mL, about 3.45 mg/mL, or about 3.5 mg/mL in the oral               about 0.62 mg/ml, about 0.63 mg/ml, about 0.64 mg/ml,
  liquid formulation. In some embodiments, citric acid is          45   about 0.65 mg/ml, about 0.66 mg/ml, about 0.67 mg/ml,
  present in about 3.3 mg/ml in the oral liquid formulation.            about 0.68 mg/ml, about 0.69 mg/ml, about 0.7 mg/ml,
     In some embodiments, citric acid is present in about 10%           about 0.71 mg/ml, about 0.72 mg/ml, about 0.73 mg/ml,
  w/w to about 50% w/w of the solids in the oral liquid                 about 0.74 mg/ml, about 0.75 mg/ml, about 0.76 mg/ml,
  formulation. In other embodiments, citric acid is present in          about 0.77 mg/ml, about 0.78 mg/ml, about 0.79 mg/ml, or
  about 10% w/w, about 11% w/w, about 12% w/w, about 13%           50   about 0.8 mg/ml in the oral liquid formulation. In some
  w/w, about 14% w/w, about 15% w/w, about 16% w/w,                     embodiments, Sodium citrate dihydrate is present in about
  about 17% w/w, about 18% w/w, about 19% w/w, about 20%                0.75 mg/ml in the oral liquid formulation. In some embodi
  w/w, about 21% w/w, about 22% w/w, about 23% w/w,                     ments, sodium citrate dihydrate is present in about 0.35
  about 24% w/w, about 25% w/w, about 26% w/w, about 27%                mg/ml in the oral liquid formulation. In some embodiments,
  w/w, about 28% w/w, about 29% w/w, about 30% w/w,                55   Sodium citrate dihydrate is present in about 0.2 mg/ml in the
  about 31% w/w, about 32% w/w, about 33% w/w, about 34%                oral liquid formulation. In some embodiments, Sodium cit
  w/w, about 35% w/w, about 36% w/w, about 37% w/w,                     rate dihydrate is present in about 0.15 mg/ml in the oral
  about 38% w/w, about 39% w/w, about 40% w/w, about 41%                liquid formulation.
  wfw, about 42% w/w, about 43% w/w, about 44% w/w,                        In some embodiments, Sodium citrate dihydrate is present
  about 45% w/w, about 46% w/w, about 47% w/w, about 48%           60   in about 1% w/w to about 15% w/w of the solids in the oral
  wfw, about 49% w/w, about 50% w/w of the solids in the oral           liquid formulation. In other embodiments, sodium citrate
  liquid formulation. In some embodiments, citric acid is               dihydrate is present in about 1% w/w, about 1.1% w/w, about
  present in about 45% w/w of the solids in the oral liquid             1.2% w/w, about 1.3% w/w, about 1.4% w/w, about 1.5%
  formulation. In some embodiments, citric acid is present in           w/w, about 1.6% w/w, about 1.7% w/w, about 1.8% w/w,
  about 31% w/w of the solids in the oral liquid formulation.      65   about 1.9% w/w, about 2% w/w, about 2.1% w/w, about
  In some embodiments, citric acid is present in about 35%              2.2% w/w, about 2.3% w/w, about 2.4% w/w, about 2.5%
  w/w of the solids in the oral liquid formulation. In some             w/w, about 2.6% w/w, about 2.7% w/w, about 2.8% w/w,
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 15 of 27 PageID: 149


                                                         US 9,669,008 B1
                                 17                                                                      18
  about 2.9% w/w, about 3% w/w, about 3.1% w/w, about      FD&C Yellow No. 6, FD&C Blue No. 2, FD&C Green No.
  3.2% w/w, about 3.3% w/w, about 3.4% w/w, about 3.5%     5, FD&C Orange No. 5, caramel, ferric oxide and mixtures
  w/w, about 3.6% w/w, about 3.7% w/w, about 3.8% w/w,     thereof.
  about 3.9% w/w, about 4% w/w, about 4.5% w/w, about 5%      Thickeners impart viscosity or weight to the resultant
  w/w, about 5.5% w/w, about 6% w/w, about 6.5% w/w, 5 liquid forms from the enalapril formulation described
  about 7% w/w, about 7.5% w/w, about 8% w/w, about 8.5%   herein. Exemplary thickeners include dextrin, cellulose
  w/w, about 9% w/w, about 9.5% w/w, about 10% w/w, about  derivatives (carboxymethylcellulose and its salts, ethylcel
  10.5% w/w, about 11% w/w, about 11.5% w/w, about 12%     lulose, hydroxyethyl cellulose, methylcellulose, hypromel
  w/w, about 12.5% w/w, about 13% w/w, about 13.5% w/w, 10 lose, and the like) starches, pectin, polyethylene glycol,
                                                           polyethylene  oxide, trehalose and certain gums (Xanthan
  about 14% w/w, about 14.5% w/w, about 15% w/w of the     gum, locust bean gum, etc.). In certain embodiments, the
  Solids in the oral liquid formulation. In some embodiments,               enalapril liquid formulation comprises a thickener.
  sodium citrate dihydrate is present in about 10.5% w/w of                    Additional excipients are contemplated in the enalapril
  the solids in the oral liquid formulation. In some embodi                 liquid formulation embodiments. These additional excipi
  ments, sodium citrate dihydrate is present in about 7.5%             15   ents are selected based on function and compatibility with
  w/w of the solids in the oral liquid formulation. In some                 the enalapril liquid formulations described herein and may
  embodiments, Sodium citrate dihydrate is present in about                 be found, for example in Remington. The Science and
  4.5% w/w of the solids in the oral liquid formulation. In                 Practice of Pharmacy. Nineteenth Ed (Easton, Pa.; Mack
  Some embodiments, sodium citrate dihydrate is present in                  Publishing Company, 1995); Hoover, John E., Remington's
  about 2.9% w/w of the solids in the oral liquid formulation.              Pharmaceutical Sciences, (Easton, Pa.; Mack Publishing Co
     In other embodiments, sodium citrate dihydrate is not                  1975); Liberman, H. A. and Lachman, L., Eds. Pharma
  added to the formulation.                                                 ceutical Dosage Forms (New York, N.Y.: Marcel Decker
  Additional Excipients                                                     1980); and Pharmaceutical Dosage Forms and Drug Deliv
     In further embodiments, the enalapril liquid formulation               ery Systems, Seventh Ed (Lippincott Williams & Wilkins
  described herein comprises additional excipients including,          25   1999), herein incorporated by reference in their entirety.
  but not limited to, glidants, flavoring agents, coloring agents           Stability
  and thickeners. Additional excipients such as bulking agents,                The main enalapril degradants are enalapril diketopipera
  tonicity agents and chelating agents are within the scope of              Zine and enalaprilat.
  the embodiments.                                                             The enalapril oral liquid formulations described herein are
     Glidants are substances that improve flowability of a             30   stable in various storage conditions including refrigerated,
                                                                            ambient and accelerated conditions. Stable as used herein
  powder. Suitable glidants include, but are not limited to,                refers to enalapril oral liquid formulations having about 95%
  calcium phosphate tribasic, calcium silicate, cellulose (pow              or greater of the initial enalapril amount and about 5% w/w
  dered), colloidal silicon dioxide, magnesium silicate, mag                or less total impurities or related substances at the end of a
  nesium trisilicate, silicon dioxide, starch, talc and the like. In   35   given storage period. The percentage of impurities is calcu
  Some embodiments, the enalapril powder formulations                       lated from the amount of impurities relative to the amount of
  described herein comprise a glidant. In some embodiments                  enalapril. Stability is assessed by HPLC or any other known
  the glidant is not colloidal silicon dioxide.                             testing method. In some embodiments, the stable enalapril
     In another embodiment, the enalapril liquid formulation                oral liquid formulations have about 5% w/w, about 4% w/w,
  comprises a flavoring agent or flavorant to enhance the taste        40   about 3% w/w, about 2.5% w/w, about 2% w/w, about 1.5%
  or aroma of the formulation in liquid form. Suitable natural              w/w, about 1% w/w, or about 0.5% w/w total impurities or
  or synthetic flavoring agents can be selected from standard               related substances. In other embodiments, the stable enal
  reference books, for example Fenaroli's Handbook of Flavor                april oral liquid formulations have about 5% w/w total
  Ingredients, 3rd edition (1995). Non-limiting examples of                 impurities or related Substances. In yet other embodiments,
  suitable natural flavors, some of which can readily be               45   the stable enalapril oral liquid formulations have about 4%
  simulated with synthetic agents or combinations thereof,                  w/w total impurities or related substances. In yet other
  include almond, anise, apple, apricot, bergamot, blackberry,              embodiments, the stable enalapril oral liquid formulations
  blackcurrant, blueberry, cacao, caramel, cherry, cinnamon,                have about 3% w/w total impurities or related substances. In
  clove, coffee, coriander, cranberry, cumin, dill, eucalyptus,             yet other embodiments, the stable enalapril oral liquid
  fennel, fig, ginger, grape, grapefruit, guava, hop, lemon,           50   formulations have about 2% w/w total impurities or related
  licorice, lime, malt, mandarin, molasses, nutmeg, mixed                   substances. In yet other embodiments, the stable enalapril
  berry, orange, peach, pear, peppermint, pineapple, raspberry,             oral liquid formulations have about 1% w/w total impurities
  rose, spearmint, strawberry, tangerine, tea, Vanilla, winter              or related Substances.
  green, etc. Also useful, particularly where the formulation is              At refrigerated condition, the enalapril oral liquid formu
  intended primarily for pediatric use, is tutti-frutti or bubble      55   lations described herein are stable for at least 1 month, at
  gum flavor, a compounded flavoring agent based on fruit                   least 2 months, at least 3 months, at least 6 months, at least
  flavors. Presently preferred flavoring agents include anise,              9 months, at least 12 months, at least 15 months, at least 18
  cinnamon, cacao, orange, peppermint, cherry (in particular                months, at least 24 months, at least 30 months and at least
  wild cherry), grape, bubblegum, Vanilla, and mixed berry. In              36 months. In some embodiments, refrigerated condition is
  Some embodiments, the enalapril liquid formulation                   60   5+3° C. In some embodiments, refrigerated condition is
  described herein comprises a mixed berry flavoring agent.                 about 2° C., about 2.1° C., about 2.2° C., about 2.3° C.,
  Flavoring agents can be used singly or in combinations of                 about 2.4° C., about 2.5°C., about 2.6° C., about 2.7°C.,
  tWO Or more.                                                              about 2.8° C., about 2.9° C., about 3° C., about 3.1° C.,
    In further embodiments, the enalapril liquid formulation                about 3.2° C., about 3.3°C., about 3.4° C., about 3.5° C.,
  comprises a coloring agent for identity and/or aesthetic             65   about 3.6° C., about 3.7°C., about 3.8° C., about 3.9°C.,
  purposes. Suitable coloring agents illustratively include                 about 4° C., about 4.1° C., about 4.2° C., about 4.3° C.,
  FD&C Red No. 3, FD&C Red No. 20, FD&C Red No. 40,                         about 4.4° C., about 4.5° C., about 4.6° C., about 4.7° C.,
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 16 of 27 PageID: 150


                                                        US 9,669,008 B1
                                19                                                                     20
  about 4.8° C., about 4.9° C., about 5° C., about 5.1° C.,                pharmaceutically acceptable salt thereof, is present in about
  about 5.2°C., about 5.3°C., about 5.4° C., about 5.5° C.,                10% w/w to about 25% w/w of the powder formulation. In
  about 5.6° C., about 5.7° C., about 5.8° C., about 5.9°C.,               Some embodiments, enalapril maleate is present in about
  about 6° C., about 6.1° C., about 6.2° C., about 6.3° C.,                13.5% w/w of the powder formulation. In some embodi
  about 6.4° C., about 6.5°C., about 6.6° C., about 6.7° C.,               ments, enalapril maleate is present in about 19.5% w/w of
  about 6.8° C., about 6.9° C., about 7° C., about 7.1° C.,                the powder formulation. In some embodiments, enalapril
  about 7.2° C., about 7.3°C., about 7.4° C., about 7.5°C.,                maleate is present in about 24.5% w/w of the powder
  about 7.6° C., about 7.7°C., about 7.8°C., about 7.9°C., or              formulation. In some embodiments, enalapril is present in
  about 8° C. At accelerated conditions, the enalapril oral                about 10.5% w/w of the powder formulation. In some
  liquid formulations described herein are stable for at least 1      10   embodiments, enalapril is present in about 14.5% w/w of the
  month, at least 2 months, at least 3 months, at least 4 months,          powder formulation. In some embodiments, enalapril is
  at least 5 months, at least 6 months, at least 7 months, at least        present in about 18% w/w of the powder formulation.
  8 months, at least 9 months, at least 10 months, at least 11                In some embodiments, enalapril or a pharmaceutically
  months or at least 12 months. Accelerated conditions for the             acceptable salt thereof, is present in about 0.1% w/w to
  enalapril oral liquid formulations described herein include         15   about 1% w/w of the powder formulation. In other embodi
  temperature and/or relative humidity (RH) that are at or                 ments, enalapril or a pharmaceutically acceptable salt
  above ambient levels (e.g. 25+5° C.; 55+10% RH). In some                 thereof, is present in about 0.1% w/w, about 0.15% w/w,
  instances, an accelerated condition is at about 25°C., about             about 0.2% w/w, about 0.25% w/w, about 0.3% w/w, about
  30° C., about 35° C., about 40° C., about 45° C., about 50°              0.35% w/w, about 0.4% w/w, about 0.45% w/w, about 0.5%
  C., about 55° C. or about 60° C. In other instances, an                  w/w, about 0.55% w/w, about 0.6% w/w, about 0.65% w/w,
  accelerated condition is above 55% RH, about 65% RH,                     about 0.7% w/w, about 0.75% w/w, about 0.8% w/w, about
  about 70% RH, about 75% RH or about 80% RH. In further                   0.85% w/w, about 0.9% w/w, about 0.95% w/w, or about 1%
  instances, an accelerated condition is about 40° C. or 60° C.            w/w of the powder formulation. In some embodiments,
  at ambient humidity. In yet further instances, an accelerated            enalapril or a pharmaceutically acceptable salt thereof, is
  condition is about 40° C. at 75+5% RH humidity.                     25   present in about 0.4% w/w to about 0.7% w/w of the powder
  Enalapril Oral Powder Formulation                                        formulation. In some embodiments, enalapril maleate is
     In another aspect, enalapril oral liquid formulations                 present in about 0.45% w/w of the powder formulation. In
  described herein are prepared from the reconstitution of an              Some embodiments, enalapril maleate is present in about
  enalapril powder formulation. In some embodiments, the                   0.6% w/w of the powder formulation. In some embodi
  enalapril powder formulation comprising enalapril, a Sweet          30   ments, enalapril is present in about 0.4% w/w of the powder
  ener, a preservative, and optionally an excipient is dissolved           formulation. In some embodiments, enalapril is present in
  in water, a buffer, other aqueous solvent, or a liquid to form           about 0.5% w/w of the powder formulation.
  an enalapril oral liquid formulation. In one embodiment, the               Various amounts and concentrations of other components
  Sweetening agent is Sucralose. In one embodiment, the                    (sweeteners, buffers, preservatives, and the like) in the
  Sweetener is not mannitol. In one embodiment, the Sweet             35   enalapril powder formulations are found in the previous
  ening agent is xylitol. In another embodiment, the preser                section describing the amounts and concentrations for the
  Vative is sodium benzoate.                                               analogous enalapril oral liquid formulations. For example, in
     In one embodiment, the preservative is a paraben preser               some embodiments where sucralose is present in about 1%
  Vative. In one aspect, the enalapril powder formulation                  w/w to about 30% w/w of the solids in the oral liquid
  described herein comprises enalapril. Sucralose, and sodium         40   formulation; in an analogous enalapril powder formulation,
  benzoate. In some embodiments, the enalapril powder for                  sucralose would be about 1% w/w to about 30% w/w in the
  mulation herein further comprises a flavoring agent. In some             powder formulation. In some embodiments where sodium
  embodiments, the enalapril powder formulation herein fur                 benzoate is present in about 1% w/w to about 30% w/w of
  ther comprises one or more buffering agents.                             the Solids in the oral liquid formulation, in an analogous
     In some embodiments, enalapril or a pharmaceutically             45   enalapril powder formulation sodium benzoate is present in
  acceptable salt thereof, is present in about 0.5% w/w to                 about 1% w/w to about 30% w/w in the powder formulation.
  about 30% w/w of the powder formulation. In other embodi                    Liquid vehicles suitable for the enalapril powder formu
  ments, enalapril or a pharmaceutically acceptable salt                   lations to be reconstituted into an oral solution described
  thereof, is present in about 0.5% w/w, about 1% w/w, about               herein are selected for a particular oral liquid formulation
  1.5% w/w, about 2% w/w, about 2.5% w/w, about 3% w/w,               50   (solution, Suspension, etc.) as well as other qualities Such as
  about 3.5% w/w, about 4% w/w, about 4.5% w/w, about 5%                   clarity, toxicity, Viscosity, compatibility with excipients,
  w/w, about 5.5% w/w, about 6% w/w, about 6.5% w/w,                       chemical inertness, palatability, odor, color and economy.
  about 7% w/w, about 7.5% w/w, about 8% w/w, about 8.5%                   Exemplary liquid vehicles include water, ethyl alcohol,
  w/w, about 9% w/w, about 9.5% w/w, about 10% w/w, about                  glycerin, propylene glycol, syrup (Sugar or other Sweetener
  10.5% w/w, about 11% w/w, about 11.5% w/w, about 12%                55   based, e.g., Ora-Sweet(R) SF sugar-free flavored syrup),
  w/w, about 12.5% w/w, about 13% w/w, about 13.5% w/w,                    juices (apple, grape, orange, cranberry, cherry, tomato and
  about 14% w/w, about 14.5% w/w, about 15% w/w, about                     the like), other beverages (tea, coffee, soft drinks, milk and
  15.5% w/w, about 16% w/w, about 16.5% w/w, about 17%                     the like), oils (olive, soybean, corn, mineral, castor and the
  w/w, about 17.5% w/w, about 18% w/w, about 18.5% w/w,                    like), and combinations or mixtures thereof. Certain liquid
  about 19% w/w, about 19.5% w/w, about 20% w/w, about                60   vehicles, e.g., oil and water, can be combined together to
  20.5% w/w, about 21% w/w, about 21.5% w/w, about 22%                     form emulsions. In some embodiments, water is used for as
  w/w, about 22.5% w/w, about 23% w/w, about 23.5% w/w,                    a vehicle for a enalapril oral liquid formulation. In other
  about 24% w/w, about 24.5% w/w, about 25% w/w, about                     embodiments, a syrup is used for as a vehicle for a enalapril
  25.5% w/w, about 26% w/w, about 26.5% w/w, about 27%                     oral liquid formulation. In yet other embodiments, a juice is
  w/w, about 27.5% w/w, about 28% w/w, about 28.5% w/w,               65   used for as a vehicle for a enalapril oral liquid formulation.
  about 29% w/w, about 29.5% w/w, or about 30% w/w of the                     Buffering agents maintain the pH of the liquid enalapril
  powder formulation. In some embodiments, enalapril or a                  formulation. Non-limiting examples of buffering agents
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 17 of 27 PageID: 151


                                                         US 9,669,008 B1
                              21                                                                            22
  include, but are not limited to Sodium bicarbonate, potas                    In further embodiments, the enalapril powder formulation
  sium bicarbonate, magnesium hydroxide, magnesium lac                      described herein comprises a thickener. Thickeners impart
  tate, magnesium gluconate, aluminum hydroxide, aluminum                   viscosity or weight to the resultant liquid forms from the
  hydroxide/sodium bicarbonate co precipitate, mixture of an                enalapril formulation described herein. Exemplary thicken
  amino acid and a buffer, a mixture of aluminum glycinate             5    ers include dextrin, cellulose derivatives (carboxymethyl
  and a buffer, a mixture of an acid salt of an amino acid and              cellulose and its salts, ethylcellulose, hydroxyethyl cellu
  a buffer, and a mixture of an alkali Salt of an amino acid and            lose, methylcellulose, hypromellose, and the like) starches,
  a buffer. Additional buffering agents include citric acid,                pectin, polyethylene glycol, polyethylene oxide, trehalose
  Sodium citrate, sodium tartrate, Sodium acetate, sodium                   and certain gums (Xanthan gum, locust bean gum, etc.).
  carbonate, Sodium polyphosphate, potassium polyphos                  10      Additional excipients are contemplated in the enalapril
  phate, sodium pyrophosphate, potassium pyrophosphate,                     powder formulation embodiments. These additional excipi
  disodium hydrogenphosphate, dipotassium hydrogenphos                      ents are selected based on function and compatibility with
  phate, trisodium phosphate, tripotassium phosphate, sodium                the the enalapril powder formulation described herein and
  acetate, potassium metaphosphate, magnesium oxide, mag                    may be found, for example in Remington. The Science and
                                                                       15   Practice of Pharmacy. Nineteeth Ed (Easton, Pa.; Mack
  nesium hydroxide, magnesium carbonate, magnesium sili                     Publishing Company, 1995); Hoover, John E., Remington's
  cate, calcium acetate, calcium glycerophosphate, calcium                  Pharmaceutical Sciences, (Easton, Pa.; Mack Publishing Co
  chloride, calcium hydroxide, calcium lactate, calcium car                 1975); Liberman, H. A. and Lachman, L., Eds. Pharma
  bonate, calcium bicarbonate, and other calcium salts. Some                ceutical Dosage Forms (New York, N.Y.: Marcel Decker
  buffering agents also impart effervescent qualities when a                1980); and Pharmaceutical Dosage Forms and Drug Deliv
  powder is reconstituted in a solution.                                    ery Systems, Seventh Ed (Lippincott Williams & Wilkins
     In some embodiments, the reconstituted oral liquid for                 1999), herein incorporated by reference in their entirety.
  mulation comprises a buffer. In some embodiments, the                        In some embodiments, the enalapril oral liquid formula
  buffer comprises citric acid and sodium citrate.                          tion prepared from the powder formulations described
     In further embodiments, the enalapril powder formulation          25   herein are homogenous. Homogenous liquids as used herein
  described herein comprises additional excipients including,               refer to those liquids that are uniform in appearance, identity,
  but not limited to, glidants, flavoring agents, coloring agents           consistency and drug concentration per Volume. Non-ho
  and thickeners. Additional excipients such as bulking agents,             mogenous liquids include Such liquids that have varied
  tonicity agents and chelating agents are within the scope of              coloring, viscosity and/or aggregation of Solid particulates,
  the embodiments.                                                     30   as well as non-uniform drug concentration in a given unit
     Glidants are substances that improve flowability of a                  Volume. Homogeneity in liquids are assessed by qualitative
  powder. Suitable glidants include, but are not limited to,                identification or appearance tests and/or quantitative HPLC
  calcium phosphate tribasic, calcium silicate, cellulose (pow              testing or the like. The mixing methods and excipients
  dered), colloidal silicon dioxide, magnesium silicate, mag                described herein are selected to impart a homogenous qual
  nesium trisilicate, silicon dioxide, starch, talc and the like. In   35   ity to a resultant enalapril oral liquid formulation.
  Some embodiments, the enalapril powder formulations                          Mixing methods encompass any type of mixing that result
  described herein comprise a glidant.                                      in a homogenous enalapril oral liquid formulation. In some
     In another embodiment, the enalapril powder formulation                embodiments, a quantity of an enalapril powder formulation
  described herein comprises a flavoring agent or flavorant to              is added to a liquid vehicle and then mixed by a stirring,
  enhance the taste or aroma of the formulation in liquid form.        40   shaking, Swirling, agitation element or a combination
  Suitable natural or synthetic flavoring agents can be selected            thereof. In certain instances, a fraction of a enalapril powder
  from standard reference books, for example Fenaroli's                     formulation (i.e., one-half one-third, one-fourth, etc.) is
  Handbook of Flavor Ingredients, 3rd edition (1995). Non                   added to a liquid vehicle, mixed by stirring, shaking, Swirl
  limiting examples of Suitable natural flavors, some of which              ing, agitation or a combination thereof, and the Subsequent
  can readily be simulated with synthetic agents or combina            45   powder fraction(s) is added and mixed. In other embodi
  tions thereof, include almond, anise, apple, apricot, berga               ments, a liquid vehicle is added to an enalapril powder
  mot, blackberry, blackcurrant, blueberry, cacao, caramel,                 formulation in a container, for example, a bottle, vial, bag,
  cherry, cinnamon, clove, coffee, coriander, cranberry, cumin,             beaker, Syringe, or the like. The container is then mixed by
  dill, eucalyptus, fennel, fig, ginger, grape, grapefruit, guava,          stirring, shaking, Swirling, agitation, inversion or a combi
  hop, lemon, licorice, lime, malt, mandarin, molasses, nut            50   nation thereof. In certain instances, a fractional Volume of
  meg, mixed berry, orange, peach, pear, peppermint, pine                   the liquid vehicle (i.e., one-half, one-third, one-fourth vol
  apple, raspberry, rose, spearmint, Strawberry, tangerine, tea,            ume, etc.) is added to a enalapril powder formulation in a
  Vanilla, wintergreen, etc. Also useful, particularly where the            container, mixed by stirring, shaking, Swirling, agitation,
  formulation is intended primarily for pediatric use, is tutti             inversion or a combination thereof, and the Subsequent
  frutti or bubblegum flavor, a compounded flavoring agent             55   liquid fraction(s) is added and mixed. In certain instances, a
  based on fruit flavors. Presently preferred flavoring agents              one-half fractional volume of the liquid vehicle is added to
  include anise, cinnamon, cacao, orange, peppermint, cherry                an enalapril powder formulation in a container and mixing
  (in particular wild cherry), grape, bubblegum, Vanilla, and               by shaking; the other one-half fractional volume of the
  mixed berry. Flavoring agents can be used singly or in                    liquid vehicle is then Subsequently added and mixed. In any
  combinations of two or more.                                         60   of the above embodiments, mixing (i.e., stirring, shaking,
     In further embodiments, the enalapril powder formulation               Swirling, agitation, inversion or a combination thereof)
  described herein comprises a coloring agent for identity                  occurs for a certain time intervals such as about 10 seconds,
  and/or aesthetic purposes. Suitable coloring agents illustra              about 20 seconds, about 30 seconds, about 45 seconds, about
  tively include FD&C Red No. 3, FD&C Red No. 20, FD&C                      60 seconds, about 90 seconds, about 120 seconds, about 2.5
  Red No. 40, FD&C Yellow No. 6, FD&C Blue No. 2, D&C                  65   minutes, about 3 minutes, about 3.5 minutes, about 4 min
  Green No. 5, D&C Orange No. 5, caramel, ferric oxide and                  utes, or about 5 minutes. In embodiments, where there are
  mixtures thereof.                                                         two or more mixing steps, the time intervals for each mixing
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 18 of 27 PageID: 152


                                                      US 9,669,008 B1
                              23                                                                        24
  can be the same (e.g., 2x10 seconds) or different (e.g., 10           for example, bottles, vials, Syringes, and test tubes. The
  seconds for first mixing and 20 seconds for second mixing).           containers can be formed from a variety of materials such as
  In any of the above embodiments, a enalapril oral liquid              glass or plastic.
  formulation is allowed to stand for a period of time such as             A kit will typically may comprise one or more additional
  about 10 minutes, about 20 minutes, about 30 minutes, about           containers, each with one or more of various materials (such
  45 minutes, about 1 hour, about 1.5 hours or about 2 hours,           as reagents, optionally in concentrated form, and/or devices)
  to allow any air bubbles resultant from any of the mixing             desirable from a commercial and user standpoint for an
  methods to dissipate.                                                 enalapril powder or liquid formulation described herein.
  Stability of Enalapril Powder Formulation                             Non-limiting examples of Such materials include, but not
     The enalapril powder formulations described herein are        10   limited to, buffers, diluents, filters, needles, Syringes; carrier,
  stable in various storage conditions including refrigerated,          package, container, vial and/or tube labels listing contents
  ambient and accelerated conditions. Stable as used herein             and/or instructions for use, and package inserts with instruc
  refer to enalapril powder formulations having about 95% or            tions for use associated with an enalapril powder or liquid
                                                                        formulation. A set of instructions will also typically be
  greater of the initial enalapril amount and 5% w/w or less       15   included.
  total impurities or related Substances at the end of a given            A label can be on or associated with the container. A label
  storage period. The percentage of impurities is calculated            can be on a container when letters, numbers or other
  from the amount of impurities relative to the amount of               characters forming the label are attached, molded or etched
  enalapril. Stability is assessed by HPLC or any other known           into the container itself a label can be associated with a
  testing method. In some embodiments, the stable enalapril             container when it is present within a receptacle or carrier that
  powder formulations have about 5% w/w, about 4% w/w,                  also holds the container, e.g., as a package insert. A label can
  about 3% w/w, about 2.5% w/w, about 2% w/w, about 1.5%                be used to indicate that the contents are to be used for a
  w/w, about 1% w/w, or about 0.5% w/w total impurities or              specific therapeutic application. The label can also indicate
  related substances. In other embodiments, the stable enal             directions for use of the contents, such as in the methods
  april powder formulations have about 5% w/w total impu           25   described herein.
  rities or related substances. In yet other embodiments, the           Methods
  stable enalapril powder formulations have about 4% w/w                   Provided herein, in one aspect, are methods of treatment
  total impurities or related substances. In yet other embodi           comprising administration of the enalapril oral liquid for
  ments, the stable enalapril powder formulations have about            mulations described herein to a Subject. In some embodi
  3% w/w total impurities or related substances. In yet other      30   ments, the enalapril oral liquid formulations described
  embodiments, the stable enalapril powder formulations have            herein treat hypertension in a Subject. Hypertension as used
  about 2% w/w total impurities or related substances. In yet           herein includes both primary (essential) hypertension and
                                                                        secondary hypertension. In certain instances, hypertension is
  other embodiments, the stable enalapril powder formula                classified in cases when blood pressure values are greater
  tions have about 1% w/w total impurities or related sub          35   than or equal to 140/90 (systolic/diastolic) mm Hg in a
  Stances.
                                                                        Subject. In certain instances, the enalapril oral liquid formu
    At refrigerated and ambient conditions, in Some embodi              lations described herein treat a subject having a blood
  ments, the enalapril powder formulations described herein             pressure values are greater than or equal to 140/90 mm Hg.
  are stable for at least 1 week, 2 weeks, 4 weeks, 6 weeks, 8          In certain instances, the enalapril oral liquid formulations
  weeks, 10 weeks, 12 weeks, 16 weeks, 20 weeks, at least 24       40   described herein treat primary (essential) hypertension in a
  weeks, at least 30 weeks, or at least 36 weeks. At accelerated        Subject. In other instances, the enalapril oral liquid formu
  conditions, in some embodiments, the enalapril powder                 lations described herein treat secondary hypertension in a
  formulations described herein are stable for at least 1 week,         Subject.
  at least 2 weeks, at least 3 weeks, at least 4 weeks, at least           In other embodiments, the enalapril oral liquid formula
  5 weeks, at least 6 weeks, at least 7 weeks, at least 8 weeks,   45   tions described herein treat prehypertension in a Subject.
  at least 9 weeks, at least 10 weeks, at least 11 weeks or at          Prehypertension as used herein refers to cases where a
  least 12 weeks. Accelerated conditions for the enalapril              subject’s blood pressure is elevated above normal but not to
  powder formulations described herein include temperature              the level considered to be hypertension. In some instances,
  and/or relative humidity (RH) that are above ambient levels           prehypertension is classified in cases when blood pressure
  (e.g. 25+4° C.; 55+10% RH). In some instances, an accel          50   values are 120-139/80-89 mm Hg. In certain instances, the
  erated condition is at about 30° C., about 35° C., about 40°          enalapril oral liquid formulations described herein treat a
  C., about 45° C., about 50° C., about 55° C. or about 60° C.          subject having blood pressure values of 120-139/80-89 mm
  In other instances, an accelerated condition is above 65%             Hg.
  RH, about 70% RH, about 75% RH or about 80% RH. In                       In yet other embodiments, the enalapril oral liquid for
  further instances, an accelerated condition is about 40°C. or    55   mulations described herein are prophylactically adminis
  60° C. at ambient humidity. In yet further instances, an              tered to Subjects Suspected of having, predisposed to, or at
  accelerated condition is about 40° C. at 75+5% RH humid               risk of developing hypertension. In some embodiments, the
  ity.                                                                  administration of enalapril oral liquid formulations
  Kits and Articles of Manufacture                                      described herein allow for early intervention prior to onset
     For the enalapril powder and liquid formulations              60   of hypertension. In certain embodiments, upon detection of
  described herein, kits and articles of manufacture are also           a biomarker, environmental, genetic factor, or other marker,
  described. Such kits can comprise a carrier, package, or              the enalapril oral liquid formulations described herein are
  container that is compartmentalized to receive one or more            prophylactically administered to Subjects.
  containers such as vials, tubes, and the like, each of the               In further embodiments, the enalapril oral liquid formu
  container(s) comprising one of the separate elements to be       65   lations described herein treat heart failure (e.g., symptomatic
  used in a method described herein including an enalapril              congestive), asymptomatic left ventricular dysfunction,
  powder or liquid formulation. Suitable containers include,            myocardial infarction, diabetic nephropathy and chronic
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 19 of 27 PageID: 153


                                                      US 9,669,008 B1
                                25                                                                26
  renal failure. In certain instances, the enalapril oral liquid about 85 mg, about 90 mg or about 100 mg. or any range
  formulations described herein treat symptomatic congestive derivable therein. In certain instances, the enalapril oral
  heart failure. In other instances, the enalapril oral liquid liquid formulations described herein are provided in a dose
  formulations described herein treat asymptomatic left ven per day of about 1 mg. In certain instances, the enalapril oral
  tricular dysfunction. In further instances, the enalapril oral 5 liquid formulations described herein are provided in a dose
  liquid formulations described herein treat myocardial infarc per day of about 2 mg. In certain instances, the enalapril oral
  tion. In yet further instances, the enalapril oral liquid for liquid formulations described herein are provided in a dose
  mulations described herein treat diabetic nephropathy. In yet per day of about 3 mg. In certain instances, the enalapril oral
  further instances, the enalapril oral liquid formulations liquid formulations described herein are provided in a dose
  described herein treat chronic renal failure.                  10 per day of about 4 mg. In certain instances, the enalapril oral
  Dosing                                                            liquid formulations described herein are provided in a dose
     In one aspect, the enalapril oral liquid formulations are per day of about 5 mg. In certain instances, the enalapril oral
  used for the treatment of diseases and conditions described       liquid formulations described herein are provided in a dose
  herein. In addition, a method for treating any of the diseases per day of about 6 mg. In certain instances, the enalapril oral
  or conditions described herein in a subject in need of such 15 liquid formulations described herein are provided in a dose
  treatment, involves administration of enalapril oral liquid per day of about 7 mg. In certain instances, the enalapril oral
  formulations in therapeutically effective amounts to said liquid formulations described herein are provided in a dose
  Subject.                                                          per day of about 8 mg. In certain instances, the enalapril oral
     Dosages of enalapril oral liquid formulations described liquid formulations described herein are provided in a dose
  can be determined by any suitable method. Maximum tol- 20 per day of about 9 mg. In certain instances, the enalapril oral
  erated doses (MTD) and maximum response doses (MRD) liquid formulations described herein are provided in a dose
  for enalapril and/or enalaprilat can be determined via estab per day of about 10 mg. In certain instances, the enalapril
  lished animal and human experimental protocols as well as oral liquid formulations described herein are provided in a
  in the examples described herein. For example, toxicity and dose per day of about 11 mg. In certain instances, the
  therapeutic efficacy of enalapril and/or enalaprilat can be 25 enalapril oral liquid formulations described herein are pro
  determined by standard pharmaceutical procedures in cell vided in a dose per day of about 12 mg. The dose per day
  cultures or experimental animals, including, but not limited described herein can be given once per day or multiple times
  to, for determining the LDs (the dose lethal to 50% of the per day in the form of Sub-doses given b.i.d. t.i.d., qi.d., or
  population) and the EDs (the dose therapeutically effective the like where the number of sub-doses equal the dose per
  in 50% of the population). The dose ratio between the toxic 30 day.
  and therapeutic effects is the therapeutic index and it can be       In further embodiments, the daily dosages appropriate for
  expressed as the ratio between LDs and EDs. Enalapril the enalapril oral liquid formulations described herein are
  dosages exhibiting high therapeutic indices are of interest. from about 0.01 to about 1.0 mg/kg per body weight. In one
  The data obtained from cell culture assays and animal embodiment, the daily dosages appropriate for the enalapril
  studies can be used in formulating a range of dosage for use 35 oral liquid formulations are from about 0.02 to about 0.8
  in human. The dosage of Such compounds lies preferably mg/kg enalapril per body weight. In another embodiment,
  within a range of circulating concentrations that include the the daily dosage appropriate for the enalapril oral liquid
  EDso with minimal toxicity. The dosage may vary within formulations are from about 0.05 to about 0.6 mg/kg per
  this range depending upon the dosage form employed and body weight. In another embodiment, the daily dosage
  the route of administration utilized. Additional relative dos- 40 appropriate for the enalapril oral liquid formulations is about
  ages, represented as a percent of maximal response or of 0.05 mg/kg, about 0.06 mg/kg, about 0.07 mg/kg, about 0.08
  maximum tolerated dose, are readily obtained via the pro mg/kg, about 0.10 mg/kg, about 0.15 mg/kg, about 0.20
  tocols.                                                           mg/kg, about 0.25 mg/kg, about 0.30 mg/kg, about 0.40
     In some embodiments, the amount of a given enalapril mg/kg, about 0.50 mg/kg, or about 0.60 mg/kg.
  oral liquid formulation that corresponds to Such an amount 45 In other embodiments the enalapril oral liquid formula
  varies depending upon factors such as the particular enal tions are provided at the maximum tolerated dose (MTD) for
  april salt or form, disease condition and its severity, the enalapril and/or enalaprilat. In other embodiments, the
  identity (e.g., weight, sex) of the Subject or host in need of amount of the enalapril oral liquid formulations adminis
  treatment, but can nevertheless be determined according to tered is from about 10% to about 90% of the maximum
  the particular circumstances Surrounding the case, including, 50 tolerated dose (MTD), from about 25% to about 75% of the
  e.g., the specific agent being administered, the liquid com MTD, or about 50% of the MTD. In particular embodiments,
  position type, the condition being treated, and the Subject or the amount of the enalapril oral liquid formulations admin
  host being treated.                                               istered is from about 5%, 10%, 15%, 20%, 25%, 30%, 35%,
     In some embodiments, the enalapril oral liquid formula 40%, 45%, 50%, 55%, 60%, 65%, 70%, 75%, 80%, 85%,
  tions described herein are provided in a dose per day from 55 90%. 95%, 99%, or higher, or any range derivable therein,
  about 0.01 mg to 100 mg, from about 0.1 mg to about 80 mg. of the MTD for enalapril and/or enalaprilat.
  from about 1 to about 60, from about 2 mg to about 40 mg             In further embodiments, the enalapril oral liquid formu
  ofenalapril. In certain embodiments, the enalapril oral liquid lations are provided in a dosage that is similar, comparable
  formulations described herein are provided in a daily dose of or equivalent to a dosage of a known enalapril tablet
  about 0.01 mg, about 0.05 mg, about 0.1 mg, about 0.2 mg, 60 formulation. In other embodiments, the enalapril oral liquid
  about 0.4 mg, about 0.6 mg, about 0.8 mg, about 1 mg, about formulations are provided in a dosage that provides a
  1.5 mg, about 2 mg, about 2.5 mg, about 3 mg, about 4 mg.         similar, comparable or equivalent pharmacokinetic param
  about 5 mg, about 6 mg, about 7 mg, about 8 mg, about 9 eters (e.g., AUC. C. T., C T12) as a dosage of a
  mg, about 10 mg, about 11 mg, about 12 mg, about 15 mg. known enalapril tablet formulation. Similar, comparable or
  about 20 mg, about 25 mg, about 30 mg, about 35 mg, about 65 equivalent pharmacokinetic parameters, in Some instances,
  40 mg, about 45 mg, about 50 mg, about 55 mg, about 60 refer to within 80% to 125%, 80% to 120%, 85% to 125%,
  mg, about 65 mg, about 70 mg, about 76, mg, about 80 mg.          90% to 110%, or increments therein, of the given values. It
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 20 of 27 PageID: 154


                                                       US 9,669,008 B1
                             27                                                                        28
  should be recognized that the ranges can, but need not be                 In some embodiments an enalapril oral liquid formulation
  symmetrical, e.g., 85% to 105%.                                        is administered to a Subject who is in a fasted State. A fasted
  Administration                                                         state refers to a subject who has gone without food or fasted
     Administration of an enalapril oral liquid formulation is at        for a certain period of time. General fasting periods include
  a dosage described herein or at other dose levels and             5    at least 4 hours, at least 6 hours, at least 8 hours, at least 10
  formulations determined and contemplated by a medical                  hours, at least 12 hours, at least 14 hours and at least 16
  practitioner. In certain embodiments, the enalapril oral liquid        hours without food. In some embodiments, an enalapril oral
  formulations described herein are administered for prophy              liquid formulation is administered orally to a subject who is
  lactic and/or therapeutic treatments. In certain therapeutic           in a fasted state for at least 8 hours. In other embodiments,
  applications, the enalapril oral liquid formulations are          10   an enalapril oral liquid formulation is administered to a
  administered to a patient already Suffering from a disease,            subject who is in a fasted state for at least 10 hours. In yet
  e.g., hypertension, in an amount Sufficient to cure the disease        other embodiments, an enalapril oral liquid formulation is
  or at least partially arrest or ameliorate the symptoms, e.g.,         administered to a subject who is in a fasted State for at least
                                                                         12 hours. In other embodiments, an enalapril oral liquid
  lower blood pressure. Amounts effective for this use depend       15   formulation is administered to a subject who has fasted
  on the severity of the disease, previous therapy, the patients         overnight.
  health status, weight, and response to the enalapril formu                In other embodiments an enalapril oral liquid formulation
  lations, and the judgment of the treating physician. Thera             is administered to a subject who is in a fed state. A fed state
  peutically effective amounts are optionally determined by              refers to a subject who has taken food or has had a meal. In
  methods including, but not limited to, a dose escalation               certain embodiments, an enalapril oral liquid formulation is
  clinical trial.                                                        administered to a subject in a fed State 5 minutes post-meal,
     In prophylactic applications, the enalapril oral liquid             10 minutes post-meal, 15 minutes post-meal. 20 minutes
  formulations described herein are administered to a patient            post-meal, 30 minutes post-meal, 40 minutes post-meal, 50
  Susceptible to or otherwise at risk of a particular disease,           minutes post-meal. 1 hour post-meal, or 2 hours post-meal.
  e.g., hypertension. Such an amount is defined to be a             25   In certain instances, an enalapril oral liquid formulation is
  “prophylactically effective amount or dose.” In this use, the          administered to a subject in a fed State 30 minutes post-meal.
  precise amounts also depend on the patient's state of health,          In other instances, an enalapril oral liquid formulation is
  weight, and the like. When used in a patient, effective                administered to a Subject in a fed state 1 hour post-meal. In
  amounts for this use will depend on the risk or susceptibility         yet further embodiments, an enalapril oral liquid formula
  of developing the particular disease, previous therapy, the       30   tion is administered to a subject with food.
  patient’s health status and response to the enalapril formu               In further embodiments described herein, an enalapril oral
  lations, and the judgment of the treating physician.                   liquid formulation is administered at a certain time of day for
     In certain embodiments wherein the patient’s condition              the entire administration period. For example, an enalapril
  does not improve, upon the doctor's discretion the admin               oral liquid formulation can be administered at a certain time
                                                                    35   in the morning, in the evening, or prior to bed. In certain
  istration of an enalapril oral liquid formulations described           instances, an enalapril oral liquid formulation is adminis
  herein are administered chronically, that is, for an extended          tered in the morning. In other embodiments, an enalapril oral
  period of time, including throughout the duration of the               liquid formulation can be administered at different times of
  patient’s life in order to ameliorate or otherwise control or          the day for the entire administration period. For example, an
  limit the symptoms of the patient’s disease. In other embodi      40   enalapril oral liquid formulation can be administered on 8:00
  ments, administration of an enalapril oral liquid formulation          am in the morning for the first day, 12 pm noon for the next
  continues until complete or partial response of a disease.             day or administration, 4 pm in the afternoon for the third day
     In certain embodiments wherein a patient’s status does              or administration, and so on.
  improve, the dose of an enalapril oral liquid formulation              Further Combinations
  being administered may be temporarily reduced or tempo            45      The treatment of certain diseases or conditions (e.g.,
  rarily Suspended for a certain length of time (i.e., a "drug           hypertension, heart failure, myocardial infarction and the
  holiday'). In specific embodiments, the length of the drug             like) in a Subject with an enalapril oral liquid formulation
  holiday is between 2 days and 1 year, including by way of              described herein encompass additional therapies and treat
  example only, 2 days, 3 days, 4 days, 5 days, 6 days, 7 days,          ment regimens with other agents in Some embodiments.
  10 days, 12 days, 15 days, 20 days, 28 days, 35 days, 50          50   Such additional therapies and treatment regimens can
  days, 70 days, 100 days, 120 days, 150 days, 180 days, 200             include another therapy, e.g., additional anti-hypertensives,
  days, 250 days, 280 days, 300 days, 320 days, 350 days, and            for treatment of the particular disease or condition in some
  365 days. The dose reduction during a drug holiday is, by              embodiments. Alternatively, in other embodiments, addi
  way of example only, by 10%-100%, including by way of                  tional therapies and treatment regimens include other agents
  example only 10%, 15%, 20%, 25%, 30%, 35%, 40%, 45%,
                                                                    55   used to treat adjunct conditions associated with the disease
                                                                         or condition or a side effect from the enalapril oral liquid
  50%, 55%, 60%, 65%, 70%, 75%, 80%, 85%, 90%, 95%,                      formulation in the therapy.
  and 100%.                                                                 Additional agents for use in combination with an enalapril
     In some embodiments, enalapril oral liquid formulations             oral liquid formulation described herein include, but are not
  described herein are administered chronically. For example,       60   limited to, diuretics (loop, thiazide, potassium-sparing, and
  in some embodiments, an enalapril oral liquid formulation is           the like), beta blockers (metoprolol, propanolol, pronethalol,
  administered as a continuous dose, i.e., administered daily to         and the like), alpha blockers (phentolamine, phenoxyben
  a subject. In some other embodiments, enalapril oral liquid            Zamine, tamsulosin, praZosin, and the like), mixed alpha and
  formulations described herein are administered intermit                beta blockers (bucindolol, carvedilol, labetalol), calcium
  tently (e.g. drug holiday that includes a period of time in       65   channel blockers (dihydropyridines Such as nifedipine,
  which the formulation is not administered or is administered           amlodipine, etc., dilitazem, Verapamil and the like), angio
  in a reduced amount).                                                  tensin II receptor antagonists (Saralasin, lsartan, eprosartin,
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 21 of 27 PageID: 155


                                                       US 9,669,008 B1
                                29                                                             30
  irbesartan, Valsartan, and the like), other ACE inhibitors “patient,” “subject' and “individual are intended to include
  (captopril, quinapril, ramipril, lisinopril. Zofenopril, and the living organisms in which certain conditions as described
  like), aldosterone antagonists (eplerenone, spironolactone herein can occur. Examples include humans, monkeys,
  and the like), vasodilators (hydralazine and the like) and cows, sheep, goats, dogs, cats, mice, rats, and transgenic
  alpha-2 agonists (clonidine, moxonidine, guanabenz and the 5 species thereof. In a preferred embodiment, the patient is a
  like).                                                           primate. In certain embodiments, the primate or Subject is a
                                                                         human. In certain instances, the human is an adult. In certain
                   CERTAIN DEFINITIONS                                   instances, the human is child. In further instances, the human
                                                                         is 12 years of age or younger. In certain instances, the human
    Unless defined otherwise, all technical and scientific               is elderly. In other instances, the human is 60 years of age
  terms used herein have the same meanings as commonly                   or older. Other examples of subjects include experimental
  understood by one of ordinary skill in the art. Although any           animals such as mice, rats, dogs, cats, goats, sheep, pigs, and
  methods and materials similar or equivalent to those                   cows. The experimental animal can be an animal model for
  described herein can be used in the practice or testing of        15   a disorder, e.g., a transgenic mouse with hypertensive
  embodiments described herein, certain preferred methods,               pathology. A patient can be a human Suffering from hyper
  devices, and materials are now described.                              tension, or its variants or etiological forms.
     As used herein and in the appended claims, the singular                By “pharmaceutically acceptable', it is meant the carrier,
        “a” “an, and “the
  forms “a                  include plural reference unless the          diluent or excipient must be compatible with the other
  context clearly dictates otherwise. Thus, for example, ref             ingredients of the formulation and not deleterious to the
  erence to “an excipient' is a reference to one or more                 recipient thereof.
  excipients and equivalents thereof known to those skilled in              The term "pharmaceutical composition' shall mean a
  the art, and so forth.                                                 composition comprising at least one active ingredient,
    The term “about is used to indicate that a value includes            whereby the composition is amenable to investigation for a
  the standard level of error for the device or method being        25   specified, efficacious outcome in a mammal (for example,
  employed to determine the value. The use of the term 'or'              without limitation, a human). Those of ordinary skill in the
  in the claims is used to mean “and/or unless explicitly                art will understand and appreciate the techniques appropriate
  indicated to refer to alternatives only or the alternatives are        for determining whether an active ingredient has a desired
  mutually exclusive, although the disclosure Supports a defi            efficacious outcome based upon the needs of the artisan.
                                                                    30
  nition that refers to only alternatives and to “and/or.” The              A “therapeutically effective amount’ or “effective
  terms “comprise.” “have and “include” are open-ended                   amount’ as used herein refers to the amount of active
  linking verbs. Any forms or tenses of one or more of these             compound or pharmaceutical agent that elicits a biological
  verbs, such as “comprises.” “comprising,” “has.” “having.”             or medicinal response in a tissue, system, animal, individual
  “includes and “including,” are also open-ended. For               35   or human that is being sought by a researcher, veterinarian,
  example, any method that “comprises,” “has or “includes’               medical doctor or other clinician, which includes one or
  one or more steps is not limited to possessing only those one          more of the following: (1) preventing the disease; for
  or more steps and also covers other unlisted steps.                    example, preventing a disease, condition or disorder in an
     "Optional' or “optionally” may be taken to mean that the            individual that may be predisposed to the disease, condition
  Subsequently described structure, event or circumstance may       40   or disorder but does not yet experience or display the
  or may not occur, and that the description includes instances          pathology or symptomatology of the disease, (2) inhibiting
  where the events occurs and instances where it does not.               the disease; for example, inhibiting a disease, condition or
     As used herein, the term “therapeutic' means an agent               disorder in an individual that is experiencing or displaying
  utilized to treat, combat, ameliorate, prevent or improve an           the pathology or symptomatology of the disease, condition
  unwanted condition or disease of a patient. In some embodi        45   or disorder (i.e., arresting further development of the pathol
  ments, a therapeutic agent Such as enalapril is directed to the        ogy and/or symptomatology), and (3) ameliorating the dis
  treatment and/or the amelioration of reversal of, or stabili           ease; for example, ameliorating a disease, condition or
  Zation of the symptoms of hypertension described herein.               disorder in an individual that is experiencing or displaying
     “Administering when used in conjunction with a thera                the pathology or symptomatology of the disease, condition
  peutic means to administer a therapeutic systemically or          50
                                                                         or disorder (i.e., reversing the pathology and/or symptoma
  locally, as directly into or onto a target tissue, or to admin         tology). As such, a non-limiting example of a “therapeuti
  ister a therapeutic to a patient whereby the therapeutic               cally effective amount’ or “effective amount of a formu
  positively impacts the tissue to which it is targeted. Thus, as        lation of the present disclosure may be used to inhibit, block,
  used herein, the term “administering, when used in con            55   or reverse the activation, migration, or proliferation of cells
  junction with an enalapril formulation, can include, but is            or to effectively treat hypertension or ameliorate the symp
  not limited to, providing an enalapril formulation into or             toms of hypertension.
  onto the target tissue; providing an enalapril formulation                The terms “treat,” “treated,” “treatment,” or “treating as
  systemically to a patient by, e.g., oral administration                used herein refers to both therapeutic treatment in some
  whereby the therapeutic reaches the target tissue or cells.       60   embodiments and prophylactic or preventative measures in
  “Administering a formulation may be accomplished by                    other embodiments, wherein the object is to prevent or slow
  injection, topical administration, and oral administration or          (lessen) an undesired physiological condition, disorder or
  by other methods alone or in combination with other known              disease, or to obtain beneficial or desired clinical results. For
  techniques.                                                            the purposes described herein, beneficial or desired clinical
     The term “animal' as used herein includes, but is not          65   results include, but are not limited to, alleviation of symp
  limited to, humans and non-human vertebrates such as wild,             toms; diminishment of the extent of the condition, disorder
  domestic and farm animals. As used herein, the terms                   or disease; stabilization (i.e., not worsening) of the state of
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 22 of 27 PageID: 156


                                                                          US 9,669, 008 B1
                               31                                                                                               32
  the condition, disorder or disease; delay in onset or slowing                                                   TABLE A-2-continued
  of the progression of the condition, disorder or disease;
  amelioration of the condition, disorder or disease state; and                                          Primary Degradants Present in the Formulations
  remission (whether partial or total), whether detectable or                                                     % w/w of enalapril maleate
  undetectable, or enhancement or improvement of the con 5                                 Hours at                               Formulation
  dition, disorder or disease. Treatment includes eliciting a
  clinically significant response without excessive levels of                              60° C.          A1          A2         A3        A4           AS          A6
  side effects. Treatment also includes prolonging Survival as                                                               Enalaprilat
  compared to expected Survival if not receiving treatment. A
  prophylactic benefit of treatment includes prevention of a 10                                     O
                                                                                                   97
                                                                                                          O.09
                                                                                                          S.2O
                                                                                                                     O.15
                                                                                                                    16.9
                                                                                                                                  O.29
                                                                                                                                 47.4
                                                                                                                                            O.14
                                                                                                                                           16.1
                                                                                                                                                         O16
                                                                                                                                                        20.3
                                                                                                                                                                 O.12
                                                                                                                                                                15.6
  condition, retarding the progress of a condition, stabilization                                 18O     9.94      34.8        113        33.5         42.2    31.7
  of a condition, or decreasing the likelihood of occurrence of
  a condition. As used herein, “treat,” “treated,” “treatment,’
  or “treating includes prophylaxis in Some embodiments.
                                                                                     15
                                   EXAMPLES                                                        Example B: Effect of Buffer Concentration on the
                                                                                                  Formation of Degradants in Enalapril Formulations
                                                                                                                             at 60° C.
            Example A: Effect of pH on the Formation of
           Degradants in Enalapril Formulations at 60° C.
                                                                                     2O      Formulations were prepared containing enalapril maleate
    Formulations were prepared containing enalapril maleate                                according to Table B-1. The pH of each solution was
  according to Table A-1. The pH of each solution was                                      measured and adjusted as needed to pH 3.3 with ~1N HCl
  recorded. Five milliliters of each formulation were trans                                or -0.5N NaOH. Five milliliters of each formulation were
  ferred to each of four 3-dram glass screw-capped vials with                              transferred to each of six 3-dram glass screw-capped vials
  Teflon inserts in the caps. The vials were placed into a 60°                       25    with Teflon inserts in the caps. The vials were placed into a
  C. heating chamber then one vial removed and analyzed by                                 60° C. heating chamber then two vials were removed and
  HPLC at times of Zero, -97 and -180 hours.                                               analyzed by HPLC at times of Zero, -66 and ~139 hours.
                                              TABLE A-1
                         Formulation (in mg/mL) of Enalapril Formulations at
                             Varying pH and Citrate Buffer Concentration
                                                       Formulation (mM citrate

  Component                      A1 (50) A2 (50) A3 (50) A4 (50) A5 (50)                  A6 (25)
  Enalapril maleate                    1.O       1.O      1.O      1.O       1.O           1.O
  Mannitol                         50          50        50                 50             6.O
  Xylitol                                                         50
  Citric acid, anhydrous               7.35     5.05      2.55     5.05      5.05          2.76
  Sodium citrate, dihydrate            3.45     7.0      10.8      7.0       7.0           3.15
  Sodium benzoate                      1         1        1        1         1
  Methylparaben sodium                                                       1.75          O.335
  Propylparaben sodium                                                                     O.09S
  Potassium sorbate                                                                        1
  Sucralose                            0.75     0.75      0.75     0.75      0.75          0.75
  Silicon dioxide                                                            0.075
  Mixed berry flavor                   O.S      O.S       O.S      O.S       O.S           O.S
  (powdered)
  Water                                qs       qS        qs        qS        qS            qs
  pH                                   3.4      4.4       5.2      4.4       4.5          4.4

  qs = sufficient quantity
                                                                                     50
     The results of the HPLC analysis for the two main                                                                      TABLE B-1
  degradants in the samples, enalapril diketopiperazine and
  enalaprilat, are provided in Table A-2.                                                           Formulation (in mg/mL) of Enalapril Maleate Formulations
                                                                                                             at Varying Citrate Buffer Concentrations
                                     TABLE A-2                                       55                                                     Formulation

                  Primary Degradants Present in the Formulations                                                               B1 (5 mM B2 (10 mM B3 (20 mM
                              % w/w of enalapril maleate                                   Component                            citrate)  citrate)  citrate)
  Hours at                                    Formulation                                  Enalapril maleate                      1.O            1.O           1.O
                                                                                     60 Citric acid, anhydrous                    O.82           1.65          3.29
  60° C.            A1          A2            A3         A4        AS        A6            Sodium citrate, anhydrous              O.19           O.38          0.75
                                                                                           Sodium benzoate                        1.O           1.O            1.O
                              Enalapril Diketopiperazine                                   Sucralose                              0.7           0.7            0.7
                                                                                           Mixed berry flavor (powdered)          O.S            O.S           O.S
           O        O.04        O.O3          O.O3      O.O3       O.O3     O.O3           Water                                   qs             qs            qS
        97          3.10        O.88          O.33      O.86       O.70     0.53     65 pH                                        3.3            3.3           3.3
       18O          6.21        1.77          0.75       1.73      1.43     1.07
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 23 of 27 PageID: 157


                                                                           US 9,669,008 B1
                                            33                                                                                         34
                             TABLE B-1-continued                                                                       TABLE C-1-continued
           Formulation (in mg/mL) of Enalapril Maleate Formulations                                           Composition of Enalapril Maleate Formulations
                    at Varying Citrate Buffer Concentrations
                                                           Formulation                        Component                         C1           C2         C3          C4      C5

                                         B1 (5 mM B2 (10 mM B3 (20 mM                         Xylitol                                                              96.6    93.7
  Component                               citrate)  citrate)  citrate)                        Citric acid, anhydrous          28.6        35.6         28.4         S.40    S.40
  qs = sufficient quantity                                                                    Sodium citrate, anhydrous       24.5        14.7          7.73        4.10     4.10
                                                                                         10 Sodium methylparaben               4.17        4.17         8.86        2.16     2.16
     The results of the HPLC analysis for the two main                                        Sodium propylparaben             1.10        1.10
  degradants in the samples, enalapril diketopiperazine and                                 Potassium sorbate                 12.3        12.3
  enalaprilat, are provided in Table B-2.                                                   Sodium benzoate                                                8.86     2.16     2.16
                                                                                            Xanthan Gum                                                                      1.62
                                  TABLE B-2                                              15 Colloidal silicon dioxide           O.859        O.859         4.43              1.08
                                                                                            Sucralose                           9.20         9.20          6.64     1.62     1.62
                  Primary Degradants Present in the Formulations
                           % WW of enalapril maleate                                          Mixed berry flavor                6.13         6.13          4.43     1.08     1.08
                                                                                              Total solids                 173.5         170.7        472.3       115.2    115.2
                                                  Formulation                                                          Liquid Formulations (mg/mL)
                               B1 (5 mM               B2 (10 mM      B3 (20 mM
        Hours at 60° C.          citrate)              citrate)          citrate)             Enalapril maleate                 1.00         1.OO          1.OO     1.00     1.OO
                                                                                              Mannitol                          6.07         6.07      445
                             Enalapril Diketopiperazine
                                                                                              Xylitol                                                              44.7    43.4
                  O               O.O1                  O.O1               O.O1               Citric acid, anhydrous            2.33         2.90          3.21     2.50    2.50
                 66               1.57                  1.63               1.79          25
                                                                                              Sodium citrate, anhydrous         2.00         1.2O          O.87     1.90     1.90
                139               3.70                  3.94               4.24
                                     Enalaprilat                                              Sodium methylparaben              O.34         O.34          1.OO     1.00     1.OO
                                                                                              Sodium propylparaben              O.09         O.09          1.OO
                  O               O.OO                  O.OO               O.OO             Potassium sorbate                   1.00         1.OO
                 66               2.98                  2.88.              3.19
                                                                                         30 Sodium benzoate
                                                                                                                                                           1.OO     1.00     1.OO
                139               S.28                  5.23               S.69
                                                                                            Xanthan Gum                                                                      0.75
                                                                                            Colloidal silicon dioxide           0.07         0.07          0.50              0.50
                                                                                            Sucralose                           0.75         0.75          0.75     0.75     0.75
             Example C: Stability of Enalapril Maleate                                      Mixed berry flavor                  OSO          OSO           OSO      OSO      OSO
           Formulations Containing Paraben Preservatives                                 35 pH (measured)                       4.4          3.8           3.7      4.4      4.6

     Powder formulations were prepared according to Table
  C-1. All components in each formulation except mannitol or                                    The results of the HPLC analysis for the diketopiperazine
  xylitol were added to a 2.5 liter polypropylene screw capped                                and enalaprilat degradants in the samples are provided in
  bottle. The bottle was mixed by inversion in a Turbula R.                              40   Table C-2.
  mixer for 5 minutes. The mannitol or xylitol was then added
  and the components mixed for 5 minutes, then the other half                                                                   TABLE C-2
  of the mannitol or xylitol was added and a final mix of 5
  minutes was completed.                                                                               Degradant Content After Storage (% w/w of enalapril maleate)
     One liter of solution formulation was prepared for each                             45
                                                                                                                           Liquid Formulations
                                                                                                                           Storage Formulation
  formulation by adding an appropriate amount of each pow
  dered formulation to a 1 liter volumetric flask and adding                                     o C.        Weeks       C1             C2            C3           C4       C5
  about 500 mL water. The powder was dissolved with mixing                                                                    Diketopiperazine
  then the contents of the flask were brought to 1 liter with
  additional water. The amount of powder to add was deter                                50
  mined such that the final concentration of enalapril maleate                                                 8         O.O3           O.04          O.04
  was 1.0 mg/mL. Fifty milliliter aliquots of each formulation                                  19-23          O         O.O3           O.04          O.04         O.O2     O.O2
  were placed into HDPE bottles. The bottles were screw                                                        4         O.OS           O.09          O.11         O.OS     O.04
  capped and placed into storage at 5° C.3° C., at room                                                        8         O.08           O.17          O.19
  temperature (19-23° C.) and at 40° C.2° C. At various                                  55      40            O         O.O3           O.04          O.04         O.O2     O.O2
                                                                                                               4         O.35           O.91          1.10         O.31     O.21
  times, bottles were removed from the storage condition and                                                   8         O.65           18O           2.05
  analyzed.                                                                                                                       Enalaprilat
                                  TABLE C-1                                                        5           O         O.18           O.14          O.12         O.13     O.19
                                                                                                               4         O.18           O.15          O.12         O.43     O.S3
                                                                                         60
                  Composition of Enalapril Maleate Formulations                                                8         0.55           O.38          O.34
                                                                                                19-23          O         O.18           O.14          O.12         O.13     O.19
  Component                        C1            C2         C3      C4              C5                         4         1.35           O.83          O.80         1.75     2.29
                                                                                                               8         3.34           2.06          1.98
                             Powder Formulation (grams)                                          40            O         O.18           O.14          O.12         O.13     O.19
                                                                                                               4        10.49           6.08          6.11        12.30    16.14
  Enalapril maleate               12.3       12.3           8.86    2.16          2.16   65                    8        24.37          14.12         1422
  Mannitol                        744        74.4        394.O
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 24 of 27 PageID: 158


                                                                           US 9,669,008 B1
                                       35                                                                                                 36
              Example D: Stability of Enalapril Maleate                                                                      TABLE D-2-continued
           Formulations Containing Benzoate Preservative
     Powder formulations were prepared according to Table                                                    Degradant Content After Storage (% w/w of enalapril maleate)
  D-1. All components in each formulation except enalapril                                                                         Liquid Formulations
  maleate and mannitol or xylitol were blended with a mortar 5                                                                     Storage Formulation
  and pestle. The enalapril maleate was then triturated with the
  blend. The xylitol or mannitol was then triturated into the                                           o C.     Weeks      D1         D2        D3      D4       D5        D6
  blend using a geometric dilution technique.
  One liter of solution formulation was prepared for each                                                           8       O.11       O.O6     O.08     O.08    O.OS
  formulation by adding an appropriate amount of each pow- 10                                                      12       O.O8       O.04     O.O6     O.O6
  dered formulation to a 1 liter volumetric flask and adding                                                       26       O.11       O.O7     O.09     O.O7
  about 500 mL water. The powder was dissolved with mixing                                          19-23           O       O.04       O.O2     O.O3     O.O3    O.04       0.04
  then the contents of the flask were brought to 1 liter with                                                               0.27       O.21     O.24     O16     O.12       O.12
  additional water. The amount of powder to add was deter                                                           8       O.SO       O41      O.47     O.30    O.21       O.22
  mined such that the final concentration of enalapril maleate 15                                                  12       O.62       O.S2     O.S8     O.35
  was 1.0 mg/mL. Fifty milliliter aliquots of each formulation
  were placed into HDPE bottles. The bottles were screw-                                                           26       1.39       120      1.33     O.76
  capped and placed into storage at 5° C.3° C., at room                                            40               O       O.04       O.O2     O.O3     O.O3    O.04       0.04
  temperature (19-23° C.) and at 40° C.2° C. At various                                                             4       2.87       2.32     2.73     1.57    1.21       1.13
  times, bottles were removed from the storage condition and                                                        8       5.13       4.42     544      2.97    223        2.16
  analyzed.
                                           TABLE D-1
                        Composition of Enalapril Maleate Formulations
                                   Powder Formulation (grams)
  Component                            D1           D2          D3          D4              D5          D6
  Enalapril maleate                    3.63         3.63        3.63        3.63            8.86        2.16
  Xylitol                            537.2        176.1                   537.2
  Mannitol                                                    3.19.4                   4012         98.9
  Citric acid, anhydrous              11.9         11.9        11.9        10.4           26.6          6.48
  Sodium citrate, anhydrous            2.72         2.72        2.72        4.86          11.3          2.76
  Sodium benzoate                      3.63         3.63        3.63        3.63           8.86         2.16
  Rebalance X60                                                10.9
  (Sucralose and maltodextrin)
  Sucralose                                                                                 6.64        1.62
  Saccharin Sodium                                                7.26
  Colloidal silicon dioxide                                                                 4.43
  Mixed berry flavor                      1.82        1.82        1.82        1.82          4.43        1.08
  Total solids                       561          211         350.        561          472.3       115.2
                                  Liquid Formulations (mg/mL)
  Enalapril maleate                    1.00         1.OO          1.OO      1.00            1.OO        1.OO
  Xylitol                            148.0         48.5                   148.0
  Mannitol                                                     88.0                       45.3      45.8
  Citric acid, anhydrous                  3.29        3.29        3.29        2.85          3.00        3.00
  Sodium citrate, anhydrous               0.75        0.75        0.75        1.34          1.28        1.28
  Sodium benzoate                         1.00        1.OO        1.OO        1.00          1.OO        1.OO
  Rebalance X60                                                   3.00
  (Sucralose and maltodextrin)
  Sucralose                                                                                 0.75        0.75
  Saccharin Sodium                                                2.OO
  Colloidal silicon dioxide                                                                 OSO
  Mixed berry flavor                      O.SO        OSO         O.SO        O.SO          OSO         OSO
                  pH (measured)           3.2         3.2         3.4         3.7           3.6         3.6



    The results of the HPLC analysis for the diketopiperazine                                                                TABLE D-2-continued
  and enalaprilat degradants in the samples are provided in
  Table D-2.                                                                                  55             Degradant Content After Storage (% w/w of enalapril maleate)
                                                                                                                                 Liquid Formulations
                                                                                                                                   Storage Formulation
                                  TABLE D-2
                                                                                                        o C.     Weeks      D1         D2        D3      D4       D5        D6
          Degradant Content After Storage (% w/w of enalapril maleate)
                                Liquid Formulations                                                                12       6.86       S.90      6.90    3.91
                                Storage Formulation                                           60                   26      13.63      12.18     13.56    7.74
                                                                                                                                       Enalaprilat
      C.      Weeks       D1         D2          D3          D4          D5          D6
                                                                                                         5          O       O.O3       O.O2      O.O3    O.O3    O.13       O.14
                                 Diketopiperazine                                                                   4       O.15       O.12      O.O6    O.17    O.13
                                                                                                                    8       O.22       O.19      O.22    0.27    O.34
      5          O       O.04       O.O2         O.O3        O.O3        O.04        O.04     65                   12       O.20       O.17      O.19    O.22
                 4       O.O7       O.O3         O.OS        O.OS        O.O3                                       8       O.32       O.30      O.30    O.39
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 25 of 27 PageID: 159


                                                                                US 9,669,008 B1
                                             37                                                                                            38
                              TABLE D-2-continued                                                                          TABLE E-2-continued
             Degradant Content After Storage (% w/w of enalapril maleate)                                  Degradant Content After Storage (% w/w of enalapril maleate)
                                 Liquid Formulations                                                                             Storage Formulation
                                 Storage Formulation                                          5
                                                                                                     o C.      Weeks       E1         E2          E3         E4         E5      E6
        C.       Weeks        D1        D2             D3          D4          D5      D6
                                                                                                                   8      4.O2       3.99         3.99       3.62      3.37    313
  19-23             O         O.O3      O.O2       O.O3            O.O3        O.13   O-14
                                                                                                                  12      6.72       6.42         6.47       6.OO      5.53    5.29
                    4         O.69      O.66       O.69            O.86        O.74   O.76
                    8         1.38      1.33       1.41            1.68        1.83   182                                            Enalaprilat
                   12         1.71      1.68       1.73            2.15                       10
                   26         3.63      3.61       3.59            4.SS                                5          O       O.OO       O.OO         O.O1       O.O2      O.OO    O.OO
  40                O         O.O3      O.O2       O.O3            O.O3        O.13    O-14                       4       O.O7       O.09         O.10       O.11      O.O7    O.08
                    4         4.76      4.42       4.76            6.45        S.SS    S.24                       8       O.12       O.14         O.10       O.13      O.09    0.08
                    8         8.95      8.64       9.61           12.94       12.73   12.18                      12       O16        O.15         O.15       O.17      O.14    0.11
                   12        11.01     10.64      11.41           16.16                                          26       O.31       O.30         O.29       O.31      O.27    O.24
                   26        17.18     17.11      18.30           27.36                       15                 52                                                    O54     0.46
                                                                                                                 62       0.75       0.75         O.74       O.71
                                                                                                     19-23        O       O.OO       O.OO         O.O1       O.O2      O.OO    O.OO
                                                                                                                  4       O.65       O.65         O.68       O.70      OSO     0.46
             Example E: Stability of Solution Formulations of                                                     8
                                                                                                                 12
                                                                                                                          1.17
                                                                                                                          1.67
                                                                                                                                     1.19
                                                                                                                                     1.69
                                                                                                                                                  1.20
                                                                                                                                                  1.72
                                                                                                                                                             1.23
                                                                                                                                                             18O
                                                                                                                                                                       1.03
                                                                                                                                                                       1.3O
                                                                                                                                                                               0.95
                                                                                                                                                                               1.21
                            Enalapril Maleate                                                                    26       3.36       3.38         3.42       3.57      3.07    2.90
                                                                                                                 52                                                    6.32    S.88
     Solution formulations were prepared according to Table                                                      62       7.99       8.02         8.04       8.57
  E-1. Thirty milliliter aliquots of each formulation were                                            40          O       O.OO       O.OO         O.O1       O.O2      O.OO    O.OO
  placed into HDPE bottles. The bottles were screw-capped                                                         4       4.85       4.93         5.19       S.42      3.33    3.25
  and placed into storage at 5°C.-3°C., at room temperature                                   25                  8       8.08       8.06         8.56       9.01      6.65    6.35
                                                                                                                 12      10.70      10.48        11.01      11.97      8.14    7.96
  (19-23° C.) and at 40° C.i.2° C. At various times, bottles
  were removed from the storage condition and analyzed.

               Composition of Enalapril Maleate Formulations (mg/mL                           30          Example F. Effect of pH on the Formation of
  Component                            E1         E2        E3           E4     E5     E6
                                                                                                        Degradants in Enalapril Formulations at 5° C. and
                                                                                                                                    19-23° C.
  Enalapril maleate                    1.00   1.OO          1.OO   1.OO 100           1.OO
  Xylitol                            150    2OO                  150
  Citric acid anhydrous                3.29   3.29          3.29   3.29 1.65          0.82            The content of enalapril diketopiperazine and enalaprilat
                                                                                              35
  Sodium citrate anhydrous             0.75   0.75          0.75   O.75 0.38          0.19         that were formed after 8 weeks of storage for formulations
  Sodium benzoate                      1.00       1.OO      1.OO          1.OO 100    1.OO
  Sucralose                                                 O.70               O.7O   O.70
                                                                                                   C1-C3 and D1-D5 are plotted in FIG. 1 (5'C+3°C.) and FIG.
  Mixed berry flavor                   OSO                  OSO          OSO O.SO     OSO          2 (19-23° C. storage). These formulations all contained 20
  Water                                qs         qS         qS          qs     qs     qS          mM total citrate buffer content, but with varying pH. The
                    pH (measured) 3.3             3.3       3.3          34    3.3    3.3
                                                                                              40
                                                                                                   general effects of formulation pH on the formation of the
  qs = sufficient quantity                                                                         two main enalapril degradants are shown.
    The results of the HPLC analysis for the diketopiperazine                                          Example G: Antimicrobial Effectiveness Testing of
  and enalaprilat degradants in the samples are provided in                                                Enalapril Maleate Formulations at pH 3.3
  Table E-2.                                                                                  45

                                     TABLE E-2                                                       Enalapril formulations were prepared containing differing
                                                                                                   amounts of the antimicrobial preservative, sodium benzoate.
             Degradant Content After Storage (% w/w of enalapril maleate)                          The formulations were then tested for antimicrobial effec
                                 Storage Formulation                                               tiveness (AET) according to the procedures in the 2014
                                                                                              50
       o C.      Weeks        E1        E2             E3          E4          E5      E6          United States Pharmacopeia 37, Chapter <51> for category
                                     Diketopiperazine                                              3 products. The formulation of the formulations and the AET
                                                                                                   results are included in Table G-1.
         5          O        O.O1      O.O1        O.O1           O.O1        O.O1    OO1
                    4        O.04      O.04        O.OS           O.04        O.O3    O.O3    55                                   TABLE G-1
                    8        O.04      O.04        O.04           O.04        O.O3    O.O3
                   12        O.OS      O.OS        O.04           O.OS        O.04    0.04                             Formulation and AET Testing Results
                   26        O.O7      O.O6        O.OS           O.O6        O.OS    O.OS
                   52                                                         O.15    0.14                                                             Formulation
                   62        O.18      O.18        O16            O.14
    19-23           O        O.O1      O.O1        O.O1           O.O1        O.O1    OO1                                          G1           G2         G3         G4      GS
                                                                                              60
                    4        O.22      O.23        O.21           O.20        O.16    0.15
                    8        O.35      O.35        O.32           O.31        O.29    O.28                                      Formulation (mg/mL)
                   12        O.S8      O.S9        O.S3           O.S1        O48     0.45
                   26        1.10      1.10        1.OO           O.9S        O.97    0.92         Enalapril maleate               1.00       1.OO         1.00       1.OO    1.OO
                   52                                                         2.30    2.15         Xylitol                       150        150          150        150
                   62        3.02      3.04        2.75           2.64                           Sucralose                                                                    O.70
       40           O        O.O1      O.O1        O.O1           O.O1        O.O1    OO1     65 Citric acid, anhydrous            1.64         1.64       1.64       1.64    18O
                    4        2.65      2.71        2.60           2.42        1.76    1.68         Sodium citrate, anhydrous       0.322        O.322      O.322      O.322
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 26 of 27 PageID: 160


                                                                           US 9,669,008 B1
                                          39                                                                             40
                              TABLE G-1-continued                                         the ratio of the geometric means (Test/Reference) was
                                                                                          calculated. Bioeduivalence was declared if the lower and
                         Formulation and AET Testing Results                              upper confidence intervals (CIs) of the log-transformed
                                                      Formulation                         parameters were within 80% to 125% for enalapril and
                                                                                          enalaprilat.
                                   G1          G2         G3        G4        GS             Results: A total of 32 subjects participated in the study and
  Sodium citrate, dihydrate                                                  O.16S
                                                                                          29 of these subjects completed both study periods. Based on
  Sodium benzoate                 1.00     O.8O          O.60       O4O      1.O          the geometric mean ratios of enalapril and enalaprilat AUCs
  Mixed berry flavor              OSO      OSO           O.SO       OSO      OSO          (AUC, and AUC), the bioavailability of the enalapril
  Water
  HCJNaOH
                                   C.S.        C.S.      C.S.
                                               as need to achieve pH
                                                                    C.S.      C.S.   10   maleate oral solution (formulation E-5) relative to the
  Measured pH                     3.3     3.3            3.3        3.3      3.3          Epaned Powder for Oral Solution (reconstituted) was
                                    AET Results                                           approximately 105% to 110%. The geometric mean ratios of
                                                                                          enalapril and enalaprilat C were approximately 115% and
  USP <51>                        Pass      Pass         Pass       Pass     Pass         109%, respectively. The 90% CI for comparing the maxi
  qs = sufficient quantity
                                                                                     15   mum exposure to enalapril and enalaprilat, based on lin
                                                                                          (C), was within the accepted 80% to 125% limits. The
                                                                                          90% CIs for comparing total systemic exposure to enalapril
       Example H. Clinical Trial: Bioavailability Study of                                and enalaprilat, based on in (AUC) and ln (AUC), was
        10 mg Enalapril Maleate Oral Solution vs. 10 mg                                   within the accepted 80% to 125% limits. Therefore, the test
       Epaned R. Powder for Oral Solution (Reconstituted)                                 formulation of enalapril maleate oral Solution, 1 mg/mL, is
                             Under Fasted Conditions                                      bioequivalent to the reference product, Epaned Powder for
                                                                                          Oral Solution (reconstituted), 1 mg/mL, under fasted con
     The objective of this open-label, randomized, two-period,                            ditions.
  two-treatment, two-way crossover study was to compare the                                 While preferred embodiments of the present invention
  oral bioavailability of a test formulation of 10 mL of                             25   have been shown and described herein, it will be obvious to
  enalapril maleate oral Solution, 1 mg/mL (formulation E-5),                             those skilled in the art that such embodiments are provided
  to an equivalent oral dose of the commercially available                                by way of example only. Numerous variations, changes, and
  comparator product, EpanedR (enalapril maleate) Powder                                  substitutions will now occur to those skilled in the art
  for Oral Solution, 1 mg/mL, when administered under fasted                              without departing from the invention. It should be under
  conditions in healthy adults.                                                      30   stood that various alternatives to the embodiments of the
     Study design: Thirty-two healthy adult subjects received                             invention described herein may be employed in practicing
  a single 10 mL dose of enalapril maleate oral solution, 1                               the invention. It is intended that the following claims define
  mg/mL, formulation E-5 (Treatment A), in one period and a                               the scope of the invention and that methods and structures
  separate single dose of Epaned Powder for Oral Solution                                 within the scope of these claims and their equivalents be
  (reconstituted with the supplied Ora-Sweet SF), 1 mg/mL                            35   covered thereby.
  (Treatment B) in another period. Each treatment was admin                                 What is claimed is:
  istered after an overnight fast of at least 10 hours, followed                            1. A stable oral liquid formulation, comprising:
  by a 4-hour fast postdose. Each treatment was administered                                (i) about 1 mg/ml enalapril maleate;
  via a 10 mL oral dosing syringe and followed with 240 mL                                  (ii) a buffer comprising about 1.82 mg/ml citric acid and
  of room temperature tap water. Each drug administration                            40        about 0.15 mg/mL sodium citrate dihydrate;
  was separated by a washout period of at least 7 days.                                     (iii) about 1 mg/ml of a preservative that is sodium
     During each study period, meals were the same and                                           benzoate; and
  scheduled at approximately the same times relative to dose.                               (iv) water;
  In addition, during each period, blood samples were                                       wherein the pH of the formulation is less than about 3.5;
  obtained prior to and following each dose at selected times                        45       and
  through 72 hours postdose. Pharmacokinetic samples were                                   wherein the formulation is stable at about 5+3° C. for at
  analyzed for enalapril and its metabolite enalaprilat using a                                  least 12 months;
  validated analytical method; appropriate pharmacokinetic                                  wherein the stable oral liquid formulation has about 95%
  parameters were calculated for each formulation using non                                    or greater of the initial enalapril amount and about 5%
  compartmental methods. Blood was also drawn and urine                              50        w/w or less total impurities or related substances at the
  collected for clinical laboratory testing at Screening and at                                end of the given storage period.
  the end of the study.                                                                     2. The formulation of claim 1, further comprising a
     Statistical Methods: The concentration-time data were                                flavoring agent.
  analyzed using noncompartmental methods in PhoenixTM                                      3. The formulation of claim 1, wherein the pH is between
  WinNonlinP (Version 6.3, Pharsight Corporation). Concen                            55   about 3 and about 3.5.
  tration-time data that were below the limit of quantitation                               4. The formulation of claim 3, wherein the pH is about
  (BLO) were treated as Zero in the data Summarization and                                3.3.
  descriptive statistics. In the pharmacokinetic analysis, BLO                              5. The formulation of claim 1, wherein the citrate con
  concentrations were treated as Zero from time-Zero up to the                            centration in the buffer is about 5 mM to about 20 mM.
  time at which the first quantifiable concentration was                             60     6. The formulation of claim 5, wherein the citrate con
  observed; embedded and/or terminal BLO concentrations                                   centration in the buffer is about 10 mM.
  were treated as “missing. Actual sample times were used                                   7. The formulation of claim 1, wherein the formulation is
  for all pharmacokinetic and statistical analyses. Analysis of                           stable at about 5+3° C. for at least 18 months.
  variance (ANOVA) and the Schuirmann's two one-sided                                       8. The formulation of claim 1, wherein the formulation is
  t-test procedures at the 5% significance level were applied to                     65   stable at about 5+3° C. for at least 24 months.
  the log-transformed pharmacokinetic exposure parameters,                                  9. The formulation of claim 1, wherein the formulation
  C. AUC, and AUC. The 90% confidence interval for                                        does not contain mannitol.
Case 3:21-cv-12870-MAS-DEA Document 9-3 Filed 07/14/21 Page 27 of 27 PageID: 161


                                                      US 9,669,008 B1
                                41                                                                  42
    10. The formulation of claim 1, wherein the formulation               17. The formulation of claim 11, wherein the formulation
  does not contain silicon dioxide.                                     is stable at about 5+3° C. for at least 24 months.
    11. A stable oral liquid formulation, comprising:                     18. A stable oral liquid formulation, consisting essentially
    (i) about 19.3% (w/w of solids) enalapril maleate;                  of:
    (ii) a buffer comprising about 35.2% (w/w of solids) citric           (i) about 1 mg/ml enalapril maleate;
       acid and about 2.9% (w/w of solids) sodium citrate                 (ii) about 0.70 mg/ml of a sweetener that is sucralose;
       dihydrate;                                                         (iii) a buffer comprising about 1.82 mg/ml citric acid and
    (iii) about 19.3% (w/w of solids) of a preservative that is              about 0.15 mg/ml sodium citrate dihydrate;
         Sodium benzoate; and                                             (iv) about 1 mg/ml of a preservative that is sodium
    (iv) water;                                                    10         benzoate;
    wherein the pH of the formulation is less than about 3.5;             (v) a flavoring agent; and
      and                                                                 (vi) water;
    wherein the formulation is stable at about 5+3° C. for at             wherein the pH of the formulation is less than about 3.5
         least 12 months;                                                    adjusted by sodium hydroxide or hydrochloric acid if
    wherein the stable oral liquid formulation has about 95%       15         needed; and
                                                                          wherein the formulation is stable at about 5+3° C. for at
       or greater of the initial enalapril amount and about 5%                least 12 months;
       w/w or less total impurities or related substances at the
       end of the given storage period.                                   wherein the stable oral liquid formulation has about 95%
     12. The formulation of claim 11, further comprising a                  or greater of the initial enalapril amount and about 5%
  flavoring agent.                                                          w/w or less total impurities or related substances at the
     13. The formulation of claim 11, wherein the pH is                     end of the given storage period.
  between about 3 and about 3.5.                                          19. The stable oral liquid formulation of claim 1, further
    14. The formulation of claim 13, wherein the pH is about            comprising about 0.70 mg/ml of a Sweetener that is sucral
                                                                        OS.
  3.3.
    15. The formulation of claim 11, wherein the citrate           25     20. The stable oral liquid formulation of claim 11, further
  concentration in the buffer is about 5 mM to about 20 mM.             comprising about 13.5% (w/w of solids) of a sweetener that
                                                                        is sucralose.
    16. The formulation of claim 15, wherein the citrate
  concentration in the buffer is about 10 mM.
